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Fill in this information to identify the case:

Debtor name: The Roman Catholic Church of the Archdiocese of New Orleans
United States Bankruptcy Court for the: Eastern District of Louisiana
Case number (if known): 20-10846

                                                                                                                                                                     þ Check if this is an
                                                                                                                                                                           amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                12/15

 Part 1:       Summary of Assets


1.     Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)




       1a. Real property:
           Copy line 88 from Schedule A/B ......................................................................................................                     UNDETERMINED



       1b. Total personal property:
           Copy line 91A from Schedule A/B ....................................................................................................                      $204,958,953.23



       1c. Total of all property:
           Copy line 92 from Schedule A/B ......................................................................................................                     $204,958,953.23

 Part 2:       Summary of Liabilities



2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D .................                                                 $47,133,662.17



3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)




       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F .........................................................                                    $626,458.55



       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F ............................                                              + $91,592,452.51




4.     Total liabilities
       Lines 2 + 3a + 3b .........................................................................................................................................   $139,352,573.23




Official Form 206Sum                                    Summary of Assets and Liabilities for Non-Individuals                                                                 Page 1 of 1



                                                                                                                                             EXHIBIT 2
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Fill in this information to identify the case:

Debtor name: The Roman Catholic Church of the Archdiocese of New Orleans
United States Bankruptcy Court for the: Eastern District of Louisiana
Case number (if known): 20-10846

                                                                                                                        þ Check if this is an
                                                                                                                                amended filing

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                         12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and
properties which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any
executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added,
write the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If
an additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.

 Part 1:      Cash and cash equivalents

1.      Does the debtor have any cash or cash equivalents?

        ¨ No. Go to Part 2.
        þ Yes. Fill in the information below
        All cash or cash equivalents owned or controlled by the debtor                                                Current value of
                                                                                                                      debtor’s interest

2.      Cash on hand
2.1.    CASH ON HAND - ANO RETREAT CENTER                                                                             $600.00

2.2.    CASH ON HAND - ANO RETREAT CENTER - BOOK RACK                                                                 $150.00

2.3.    CASH ON HAND - FAMILY LIFE APOSTOLATE                                                                         $300.00

2.4.    CASH ON HAND- ACCOUNTING OFFICE                                                                               $869.21

2.5.    CASH ON HAND - TULANE CATHOLIC CENTER                                                                         $400.00

2.6.    CASH ON HAND - HISPANIC APOSTOLATE                                                                            $500.00

2.7.    CASH ON HAND - STELLA MARIS                                                                                   $2,000.00

2.8.    CASH ON HAND - HIGH SCHOOLS                                                                                   $7,013.96

3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)    Type of account             Last 4 digits of account       Current value of
                                                                                       number                         debtor’s interest

3.1.1      HANCOCK WHITNEY                                 DEBT SERVICE                0989                           $833.13
           $41,895,000 LPFA REFUNDING BONDS
           (ARCHDIOCESE OF NEW ORLEANS
           PROJECT) SERIES 2017 PRINCIPAL
           FUND
           P.O. BOX 4019
           GULFPORT MS 39502-4019




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3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)   Type of account         Last 4 digits of account        Current value of
                                                                                 number                          debtor’s interest

3.2.2     HANCOCK WHITNEY                                DEBT SERVICE            0970                            $33,390.59
          $41,895,000 LPFA REFUNDING BONDS
          (ARCHDIOCESE OF NEW ORLEANS
          PROJECT) SERIES 2017 INTEREST
          FUND
          P.O. BOX 4019
          GULFPORT MS 39502-4019

3.3.3     FIRST BANK & TRUST                             CHECKING (PAYROLL)      9614                            $0.00
          ROMAN CATHOLIC CHURCH OF THE
          ARCHDIOCESE OF NEW ORLEANS
          PAYROLL ACCT
          P.O. BOX 60007
          NEW ORLEANS LA 70160-0007

3.4.4     HANCOCK WHITNEY                                CHECKING (OPERATING)    2118                            $3,383,916.17
          THE ROMAN CATHOLIC CHURCH OF THE
          ARCHIDOCESE OF NEW ORLEANS
          P.O. BOX 4019
          GULFPORT MS 39502-4019
3.5.5     FIRST BANK & TRUST                             CHECKING                9680                            $231,627.50
          ROMAN CATHOLIC CHURCH OF THE
          ARCHDIOCESE OF NEW ORLEANS
          P.O. BOX 60007
          NEW ORLEANS LA 70160-0007

3.6.6     FIRST BANK & TRUST                             CHECKCARD               9625                            $1,864.12
          ROMAN CATHOLIC CHURCH OF THE
          ARCHDIOCESE OF NEW ORLEANS
          BUSINESS CHECK CARD ACCT
          P.O. BOX 60007
          NEW ORLEANS LA 70160-0007
3.7.7     CAPITAL ONE                                    COMMERCIAL CHECKING     3664                            $282,385.19
          ARCHDIOCESAN INSURANCE ACCOUNT
          P.O. BOX 61540
          NEW ORLEANS LA 70161
3.8.8     CAPITAL ONE                                    CHECKING - CARE AND     2402                            $2,725.44
          THE ROMAN CATHOLIC CHURCH OF THE               COMPASSION ACCOUNT
          ARCHIDOCESE OF NEW ORLEANS CARE
          AND COMPASSION ACCOUNT.
          P.O. BOX 61540
          NEW ORLEANS LA 70161

3.9.9     LIBERTY BANK                                   SAVINGS                 5245                            $111,560.97
          ARCHDIOCESE OF NEW ORLEANS
          P.O. BOX 60131
          NEW ORLEANS LA 70160-0131

3.10.10   HANCOCK WHITNEY                                CHECKING (EMPLOYEE      0766                            $200,782.58
          THE ROMAN CATHOLIC CHURCH OF THE               INSURANCE)
          ARCHIDOCESE OF NEW ORLEANS
          EMPLOYEE INSURANCE FUND
          P.O. BOX 4019
          GULFPORT MS 39502-4019
3.11.11   BMO HARRIS BANK                                CORPORATE CHECKING      8597                            $935,577.57
          THE ROMAN CATHOLIC CHURCH OF THE               (EMPLOYEE INSURANCE)
          ARCHDIOCESE OF NEW ORLEANS UMR
          INC C/F PMT OF CLAIMS
          P.O. BOX 755
          CHICAGO IL 60690




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3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)   Type of account         Last 4 digits of account        Current value of
                                                                                 number                          debtor’s interest

3.12.12   HANCOCK WHITNEY                                BROKERAGE               3049                            $3,147,062.00
          ARCHDIOCESE OF NEW ORLEANS
          PORTFOLIO B
          P.O. BOX 4019
          GULFPORT MS 39502-4019

3.13.13   HANCOCK WHITNEY                                CHECKING                2718                            $496,304.12
          THE ROMAN CATHOLIC CHURCH OF THE
          ARCHIDOCESE OF NEW ORLEANS
          RETIREMENT ACCOUNT
          P.O. BOX 4019
          GULFPORT MS 39502-4019

3.14.14   CAPITAL ONE BANK                               CHECKING (OPERATING)    9250                            $387,327.58
          ST. LOUIS CATHEDRAL - OPERATING
          P.O. BOX 61540
          NEW ORLEANS LA 70161

3.15.14   CAPITAL ONE BANK                               CHECKING (OPERATING)    3736                            $461,293.84
          ST. LOUIS CATHDRAL - CATHOLIC
          CULTURAL HERITAGE CENTER
          P.O. BOX 61540
          NEW ORLEANS LA 70161

3.16.15   CAPITAL ONE BANK                               CHECKING                3604                            $91,938.60
          ST. LOUIS CATHEDRAL - CAMBON MUSIC
          P.O. BOX 61540
          NEW ORLEANS LA 70161

3.17.16   CAPITAL ONE BANK                               CHECKING                3744                            $161,495.50
          ST. LOUIS CATHEDRAL - ST. ANTHONY
          GARDEN
          P.O. BOX 61540
          NEW ORLEANS LA 70161

3.18.17   CAPITAL ONE BANK                               CHECKING                3728                            $32,454.08
          ST. LOUIS CATHEDRAL - GIFT SHOP
          P.O. BOX 61540
          NEW ORLEANS LA 70161

3.19.14   HANCOCK WHITNEY                                CHECKING (OPERATING)    4318                            $41,513.33
          OUR LADY OF GUADALUPE
          P.O. BOX 4019
          GULFPORT MS 39502-4019

3.20.18   FIRST BANK & TRUST                             CHECKING                1514                            $476,883.45
          ARCHBISHOP CHAPELLE HIGH
          P.O. BOX 60007
          NEW ORLEANS LA 70160-0007

3.21.19   FIRST BANK & TRUST                             TUITION MONEY MANAGER   1745                            $26,535.10
          ARCHBISHOP CHAPELLE HIGH                       ACCOUNT
          P.O. BOX 60007
          NEW ORLEANS LA 70160-0007

3.22.20   FIRST BANK & TRUST                             CHECKING (COMM          2809                            $42,084.40
          ARCHBISHOP CHAPELLE HIGH                       INTEREST)
          P.O. BOX 60007
          NEW ORLEANS LA 70160-0007
3.23.21   FIRST BANK & TRUST                             CHECKING (COMM          3293                            $0.08
          ARCHBISHOP CHAPELLE HIGH                       INTEREST)
          P.O. BOX 60007
          NEW ORLEANS LA 70160-0007

3.24.22   FIRST BANK & TRUST                             TUITION MONEY MANAGER   4967                            $425,665.06
          ARCHBISHOP CHAPELLE HIGH                       ACCOUNT
          P.O. BOX 60007
          NEW ORLEANS LA 70160-0007

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3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)   Type of account         Last 4 digits of account        Current value of
                                                                                 number                          debtor’s interest

3.25.18   FIRST BANK & TRUST                             TUITION RESERVE         0184                            $36,352.44
          ARCHBISHOP CHAPELLE HIGH                       ACCOUNT
          P.O. BOX 60007
          NEW ORLEANS LA 70160-0007

3.26.23   FIRST BANK & TRUST                             PAYROLL (PPP)           5667                            $436,619.90
          ARCHBISHOP CHAPELLE HIGH
          P.O. BOX 60007
          NEW ORLEANS LA 70160-0007

3.27.24   FIFTH DISTRICT SAVINGS BANK                    MONEY MARKET ACCOUNT    6344                            $178,572.21
          ACADEMY OF OUR LADY
          4000 GENERAL DE GAULLE DRIVE
          NEW ORLEANS LA 70114

3.28.25   GULF COAST BANK & TRUST COMPANY                TUITION MANAGEMENT      1492                            $1,357,692.09
          ACADEMY OF OUR LADY                            CHECKING
          200 ST. CHARLES AVENUE
          NEW ORLEANS LA 70130

3.29.26   GULF COAST BANK & TRUST COMPANY                TUITION MANAGEMENT      7654                            $0.00
          ACADEMY OF OUR LADY                            CHECKING
          200 ST. CHARLES AVENUE
          NEW ORLEANS LA 70130
3.30.27   GULF COAST BANK & TRUST COMPANY                BUSINESS SAVINGS        6054                            $1,004,197.63
          ACADEMY OF OUR LADY
          200 ST. CHARLES AVENUE
          NEW ORLEANS LA 70130

3.31.28   GULF COAST BANK & TRUST COMPANY                TUITION FUNDED          0011                            $0.00
          ACADEMY OF OUR LADY
          200 ST. CHARLES AVENUE
          NEW ORLEANS LA 70130

3.32.24   REGIONS                                        BUSINESS CHECKING       6073                            $143,307.83
          ACADEMY OF OUR LADY
          2098 BARATARIA BLVD.
          MARRERO LA 70072
3.33.20   FIRST BANK & TRUST                             CHECKING (COMM          8545                            $299,607.81
          ARCHBISHOP PHILIP M HANNAN                     INTEREST)
          P.O. BOX 60007
          NEW ORLEANS LA 70160-0007

3.34.29   FIRST BANK & TRUST                             CHECKING (COMM          8501                            $816.37
          ARCHBISHOP PHILIP M HANNAN                     INTEREST)
          P.O. BOX 60007
          NEW ORLEANS LA 70160-0007

3.35.20   FIRST BANK & TRUST                             TUITION SAVINGS         8861                            $670,836.31
          ARCHBISHOP PHILIP M HANNAN                     ACCOUNT
          P.O. BOX 60007
          NEW ORLEANS LA 70160-0007

3.36.30   FIRST BANK & TRUST                             TUITION RESERVE         0079                            $53,377.62
          ARCHBISHOP PHILIP M HANNAN                     ACCOUNT
          P.O. BOX 60007
          NEW ORLEANS LA 70160-0007

3.37.31   FIRST BANK & TRUST                             ESCROW ACCOUNT          5700                            $444,578.74
          ARCHBISHOP PHILIP M HANNAN
          P.O. BOX 60007
          NEW ORLEANS LA 70160-0007

3.38.32   CHASE                                          BUSINESS CHECKING       8055                            $186,063.30
          POPE JOHN PAUL II HIGH SCHOOL
          1943 E GAUSE BLVD.
          SLIDELL LA 70461


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Debtor    The Roman Catholic Church of the Archdiocese of New Orleans                                  Case number (if known) 20-10846

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)   Type of account         Last 4 digits of account        Current value of
                                                                                 number                          debtor’s interest

3.39.33   FIRST BANK & TRUST                             TUITION RESERVE         0271                            $61,678.82
          POPE JOHN PAUL II HIGH SCHOOL                  ACCOUNT
          P.O. BOX 60007
          NEW ORLEANS LA 70160-0007

3.40.34   FIRST BANK & TRUST                             TUITION SAVINGS         3199                            $322,169.32
          POPE JOHN PAUL II HIGH SCHOOL                  ACCOUNT
          P.O. BOX 60007
          NEW ORLEANS LA 70160-0007

3.41.35   FIRST BANK & TRUST                             CHECKING (COMM          4242                            $524,945.70
          POPE JOHN PAUL II HIGH SCHOOL                  INTEREST)
          P.O. BOX 60007
          NEW ORLEANS LA 70160-0007

3.42.36   FIRST BANK & TRUST                             DAY CAMP (BUSINESS      2887                            $19,622.87
          ARCHBISHOP RUMMEL HIGH SCHOOL                  CHECKING)
          P.O. BOX 60007
          NEW ORLEANS LA 70160-0007

3.43.37   FIRST BANK & TRUST                             MERCHANT (BUSINESS      2876                            $2,241.63
          ARCHBISHOP RUMMEL HIGH SCHOOL                  CHECKING)
          P.O. BOX 60007
          NEW ORLEANS LA 70160-0007
3.44.38   FIRST BANK & TRUST                             OLINE ADVANCEMENT       2832                            $5,071.09
          ARCHBISHOP RUMMEL HIGH SCHOOL                  (BUSINESS CHECKING)
          P.O. BOX 60007
          NEW ORLEANS LA 70160-0007

3.45.39   FIRST BANK & TRUST                             ONLINE BAND (BUSINESS   2854                            $1,972.62
          ARCHBISHOP RUMMEL HIGH SCHOOL                  CHECKING)
          P.O. BOX 60007
          NEW ORLEANS LA 70160-0007

3.46.40   FIRST BANK & TRUST                             ONLINE FUNDRAISING      2865                            $1,707.27
          ARCHBISHOP RUMMEL HIGH SCHOOL                  (BUSINESS CHECKING)
          P.O. BOX 60007
          NEW ORLEANS LA 70160-0007
3.47.41   FIRST BANK & TRUST                             ONLINE STUDENT          2843                            $5,741.04
          ARCHBISHOP RUMMEL HIGH SCHOOL                  SERVICES (BUSINESS
          P.O. BOX 60007                                 CHECKING)
          NEW ORLEANS LA 70160-0007

3.48.42   FIRST BANK & TRUST                             ONLINE TUITION/FEES     2777                            $739,669.78
          ARCHBISHOP RUMMEL HIGH SCHOOL                  (BUSINESS CHECKING)
          P.O. BOX 60007
          NEW ORLEANS LA 70160-0007

3.49.43   FIRST BANK & TRUST                             OPERATING (COMM         2799                            $148,003.14
          ARCHBISHOP RUMMEL HIGH SCHOOL                  INTEREST CHECKING)
          P.O. BOX 60007
          NEW ORLEANS LA 70160-0007

3.50.44   FIRST BANK & TRUST                             PAYROLL (BUSINESS       2821                            $588,958.59
          ARCHBISHOP RUMMEL HIGH SCHOOL                  CHECKING)
          P.O. BOX 60007
          NEW ORLEANS LA 70160-0007

3.51.45   FIRST BANK & TRUST                             TUITION RESERVE         0431                            $337,627.56
          ARCHBISHOP RUMMEL HIGH SCHOOL                  ACCOUNT
          P.O. BOX 60007
          NEW ORLEANS LA 70160-0007

3.52.46   FIRST BANK & TRUST                             BLACK AND GOLD MMA      2755                            $733,169.80
          ARCHBISHOP RUMMEL HIGH SCHOOL                  COMMERCIAL ACCOUNT
          P.O. BOX 60007
          NEW ORLEANS LA 70160-0007


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3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)   Type of account         Last 4 digits of account        Current value of
                                                                                 number                          debtor’s interest

3.53.47   FIRST BANK & TRUST                             TUITION RESERVE         0437                            $59,762.96
          ST. CHARLES CATHOLIC SCHOOL                    ACCOUNT
          P.O. BOX 60007
          NEW ORLEANS LA 70160-0007

3.54.48   FIRST BANK & TRUST                             CHECKING (COMM          3063                            $1,681,146.63
          ST. CHARLES CATHOLIC SCHOOL                    INTEREST)
          P.O. BOX 60007
          NEW ORLEANS LA 70160-0007

3.55.49   FIRST BANK & TRUST                             PAYROLL (PPP)           5678                            $534,272.50
          ST. CHARLES CATHOLIC SCHOOL
          P.O. BOX 60007
          NEW ORLEANS LA 70160-0007

3.56.50   FIRST AMERICAN BANK                            OPERATING (CHECKING)    0502                            $211,589.54
          ST. CHARLES CATHOLIC SCHOOL
          124 BELLE TERRE BLVD.
          LAPLACE LA 70068

3.57.51   FIRST AMERICAN BANK                            PAYROLL (CHECKING)      `1377                           $84.14
          ST. CHARLES CATHOLIC SCHOOL
          124 BELLE TERRE BLVD.
          LAPLACE LA 70068
3.58.52   FIRST NATIONAL BANK USA                        BUSINESS CHECKING       7036                            $27,016.29
          ST. CHARLES CATHOLIC SCHOOL
          377 BELLE TERRE BLVD.
          LAPLACE LA 70068

3.59.53   FIRST BANK & TRUST                             CHECKING (COMM          2440                            $15,729.16
          ARCHBISHOP SHAW HIGH SCHOOL                    INTEREST)
          P.O. BOX 60007
          NEW ORLEANS LA 70160-0007

3.60.54   FIRST BANK & TRUST                             CHECKING (COMM          3085                            $269,162.40
          ARCHBISHOP SHAW HIGH SCHOOL                    INTEREST)
          P.O. BOX 60007
          NEW ORLEANS LA 70160-0007
3.61.55   FIRST BANK & TRUST                             TUITION RESERVE         0007                            $59,470.72
          ARCHBISHOP SHAW HIGH SCHOOL                    ACCOUNT
          P.O. BOX 60007
          NEW ORLEANS LA 70160-0007

3.62.56   FIRST BANK & TRUST                             TUITION MONEY MANAGER   9162                            $236,140.41
          ARCHBISHOP SHAW HIGH SCHOOL                    ACCOUNT
          P.O. BOX 60007
          NEW ORLEANS LA 70160-0007

3.63.57   FIRST BANK & TRUST                             CHECKING (COMM          2429                            $664,547.63
          ARCHBISHOP SHAW HIGH SCHOOL                    INTEREST)
          P.O. BOX 60007
          NEW ORLEANS LA 70160-0007

3.64.58   CAPITAL ONE BANK                               CHECKING (ATHLETIC      3106                            $25,378.35
          ST. SCHOLASTICA ACADEMY                        ASSOCIATION)
          P.O. BOX 61540
          NEW ORLEANS LA 70161

3.65.58   CAPITAL ONE BANK                               CHECKING (PARENTS AND   6217                            $33,527.11
          ST. SCHOLASTICA ACADEMY                        FRIENDS CLUB)
          P.O. BOX 61540
          NEW ORLEANS LA 70161

3.66.29   CAPITAL ONE BANK                               BUSINESS ANALYZED       4776                            $300,415.45
          ST. SCHOLASTICA ACADEMY                        CHECKING
          P.O. BOX 61540
          NEW ORLEANS LA 70161


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3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)   Type of account         Last 4 digits of account        Current value of
                                                                                  number                          debtor’s interest

3.67.59    FIRST BANK & TRUST                             TUITION MONEY MANAGER   8457                            $119,659.52
           ST. SCHOLASTICA ACADEMY                        ACCOUNT
           P.O. BOX 60007
           NEW ORLEANS LA 70160-0007

3.68.60    FIRST BANK & TRUST                             TUITION RESERVE         0067                            $15,654.23
           ST. SCHOLASTICA ACADEMY                        ACCOUNT
           P.O. BOX 60007
           NEW ORLEANS LA 70160-0007

3.69.61    HOME BANK                                      COMMERICAL              3065                            $685,889.54
           ST. SCHOLASTICA ACADEMY
           1750 N. COLUMBIA STREET
           COVINGTON LA 70433

3.70.23    HOME BANK                                      PAYROLL (PPP)           4366                            $380,486.17
           ST. SCHOLASTICA ACADEMY
           1750 N. COLUMBIA STREET
           COVINGTON LA 70433

3.71.62    RAYMOND JAMES                                  CHECKING                2054                            $4,882.28
           ST. SCHOLASTICA ACADEMY
           1540W CAUSEWAY APPROACH
           MANDEVILLE LA 70471
3.72.63    FIRST BANK & TRUST                             CHECKING (COMM          3693                            $121,379.02
           ST. MICHAEL'S SPECIAL SCHOOL                   INTEREST)
           P.O. BOX 60007
           NEW ORLEANS LA 70160-0007

3.73.64    FIRST BANK & TRUST                             BUSINESS CHECKING       1481                            $7,242.60
           ST. MICHAEL'S SPECIAL SCHOOL
           P.O. BOX 60007
           NEW ORLEANS LA 70160-0007

3.74.65    FIRST BANK & TRUST                             CHECKING (COMM          9129                            $292,566.52
           ST. MICHAEL'S SPECIAL SCHOOL                   INTEREST)
           P.O. BOX 60007
           NEW ORLEANS LA 70160-0007
3.75.29    FIRST BANK & TRUST                             COMMERICAL              9602                            $0.00
           ST. MICHAEL'S SPECIAL SCHOOL
           P.O. BOX 60007
           NEW ORLEANS LA 70160-0007

3.76.66    GULF COAST BANK & TRUST COMPANY                CHECKING (TUITION       3404                            $115,700.27
           ST. MICHAEL'S SPECIAL SCHOOL                   MANAGEMENT)
           200 ST. CHARLES AVENUE
           NEW ORLEANS LA 70130

3.77.67    HANCOCK WHITNEY                                CHECKING                1509                            $366,497.00
           ST. MICHAEL'S SPECIAL SCHOOL
           P.O. BOX 4019
           GULFPORT MS 39502-4019


1
    LPFA 2017 BONDS DEBT SERVICE ACCOUNT - PRINCIPAL
2
    LPFA 2017 BONDS DEBT SERVICE ACCOUNT - INTEREST
3
    EMPLOYEE PAYROLL ACOUNT. IT IS FUNDED FROM THE WHITNEY OPERATING ACCOUNT.
4
 OPERATING ACCOUNT FOR THE ARCHDIOCESE AND THIS ACCOUNT IS ALSO USED FOR TRANSFERS IN AND OUT OF DEPOSIT AND
LOAN FUND.
5
 MAINLY USED FOR ONLINE AND CREDIT CARD GIVING. THIS IS LINKED TO THE VARIOUS MERCHANT PROCESSING. FUNDS BUILD UP
FROM DONATIONS IN THIS ACCUNT AND THEN ARE TRANSFERRED TO THE OPERATING ACCOUNT. THIS ACCOUNT ALSO RECIVES
REIMBURSEMENTS FROM THE EBT.



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6
THIS IS A PREFUNDED DEBIT CARD THAT IS USED FOR ARCHBISHOP'S RESIDENCE OPERATING EXPENSES. A SMALL BALANCE IS
MAINTAINED AND IT IS FUNDED PERIODICALLY.
7
    THIS ACCOUNT IS USED TO PAY NON-HEALTH CAPTIVE INSURANCE CLAIMS- FUNDED FROM WHITNEY OPERATING.
8
    THIS ACCOUNT IS USED FOR CARE & COMPASSION PROGRAM ONLY - FUNDED FROM WHITNEY OPERATING.
9
    NO ACTIVITY OTHER THAN INTEREST EARNED.
10
 THIS ACCOUNT IS USED FOR HEALTH INSURANCE (PREMIUMS COLLECTED AND PAYS CLAIMS AND ADMIN EXP) - DEPENDING ON
TIMING OF ACTIVITY, THIS ACCOUNT SOMETIMES HAS TO BE FUNDED FROM OPERATING ACCOUNT.
11
 THIS ACCOUNT IS REQUIRED BY UMR. AN IMPREST BALANCE OF $470,000 IS REQUIRED TO BE MAINTAINED. EACH WEEK FUNDS
ARE DRAFTED BY UMR FOR CLAIMS DIRECTLY FROM THE EMPLOYEE INSURANCE FUND.
12
 THIS ACCOUNT INCLUDES CASH AND CASH EQUIVALENTS AND FIXED INCOME SECURITIES (CORPORATE AND GOVERNMENT-BACK
BONDS). THE TOTAL VALUE AT 4/30/20 IS $68,150,398. THE ARCHDIOCESE' BALANCE IS $3,147,062 AND THE REMAINING FUNDS
$65,003,333 ARE PART OF THE DEPOSIT AND LOAN FUND.
13
 ACCOUNT IS USED FOR 401(K) CONTRIBUTIONS FOR ARCHDICOESAN ENTITIES THAT PARTICPATE IN THE 401(K) PLAN OF THE
ARCHDIOCESE. THE ENTIRE BALANCE IS FUNDS HELD FOR OTHERS. EACH TIME AN ENTITY PROCESS PAYROLL, THE EMPLOYER
AND EMPLOYEE CONTRIBUTIONS ARE DRAFTED INTO THIS ACCOUNT. THE AMOUNTS ARE THEN WIRED TO VOYA (TPA FOR THE
401(K) PLAN).
14
     CHECKING OPERATING
15
     CHECKING CAMBONE ACCOUNT
16
     CHECKING - ST. ANTHONEY GARDEN ACCT
17
     CHECKING - SOUVENIR SHOP
18
     OPERATING CURRENT YEAR
19
     ENDOWNMENT
20
     OPERATING
21
     GAMING
22
     NEW YEAR OPERATING
23
     PPP LOAN
24
 FUNDRAISING, PARENT PARTNERSHIP - FOR DEPT. WISHLISTS, CLASS IMPROVMENTS, SUPPLEMENTAL TEACHERS' MATERIAL,
SMALL AND MEDIUM SIZED SCHOOL IMPROVMENTS
25
     DAILY OPERATIONS OF THE SCHOOL
26
     ZERO ACCOUNT FOR PAYROLL TRANSFERS
27
     TO COVER PAYROLL AND OPERATIONS OF THE SCHOOL
28
     TUITION LOANS OUTSTANDING 2019-2020 - FOR OPERATING AND PAYROLL WHEN RECEIVED
29
     PAYROLL
30
     TUITION RESERVE (COLLATERAL FOR TUITION LOANS)
31
     PPP LOAN ESCROW ACCOUNT (PAYROLL)
32
     DAILY OPERATIONS/PAYROLL
33
     RESERVE LOAN
34
     SAVINGS
35
     CHECKING
36
     REGISTRATION INCOME AND FOR ALL CAMPS-SCHOOL YEAR AND SUMMER-AND EXPENSES FOR SUMMER CAMP.
37
 ONLINE STUDENT PAYMENTS FOR BOOKSTORE ACCOUNTS; IN HOUSE CREDIT CARD PAYMENTS FOR VARIOUS ACTIVITIES-
TUITION, FEES, STUDENT ACTIVITIES, ETC.
38
     RECEIVES ALL ONLINE DONATIONS PROCESSED THROUGH OUR DEVELOPMENT SOFTWARE-NEON
39
     ONLINE STUDENT PAYMENTS OF DISNEY AND BAND CAMP PAYMENTS
40
     USED WHEN NEEDED FOR FUNDRAISING ONLINE OTHER THAN ANNUAL GIVING AND CELEBRITY WAITERS


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41
     RECEIVES ONLINE DEPOSITS THROUGH FACTS FOR STUDENT LUNCH ACCOUNTS
42
     FOR TUITION PAYMENTS FOR FOLLOWING YEAR TO SEGREGATE
43
     REGULAR DEPOSITS AND EXPENSE PAYMENTS
44
     MONTHLY AND WEEKLY PAYROLLS AND RELATED EXPENSES
45
 BORROWER LOAN FUNDS BOOKED HERE; FUNDS RELEASED TO MONEY MANAGER AS PAYMENTS MADE; BALANCE REDUCED FOR
CANCELS AND REDUCTIONS OF LOANS; CANNOT ACCESS FOR ACTIVITY
46
     BANK LOAN BORROWERS' TUITION DISBURSEMENTS FROM RESERVE ACCOUNT.
47
 THIS BANK ACCOUNT IS ACCOUNTED FOR ON THE SCHOOL'S BOOKS AS TUITION LOAN RECEIVABLE. THIS ACCOUNT RECEIVES
THE FUNDING FROM FABT TUITION LOANS OBTAINED BY PARENTS WHO DO NOT PAY IN TUITION IN FULL. THE BALANCE IN THIS
ACCOUNT IS THEN REDUCED THROUGHOUT THE FISCAL YEAR VIA TRANSFERS TO THE FABT OPERATING ACCOUNT EQUAL TO
LOAN PRINCIPAL REPAYMENTS. THIS ACCOUNT RECEIVES THE AGREED UPON SHARED LOAN INTEREST MONTHLY AND THIS
AMOUNT IS ALSO TRANSFERRED OUT. LOAN CHARGEBACK WIL ALSO REDUCR THE ACCOUNT BALANCE.
48
 THIS ACCOUNT RECEIVES ONLINE ACH AND CREDIT/DEBIT CARD PAYMENTS FROM PARENTS FOR TUITION/FEES. ALSO RECEIVES
FUNDS FROM THE FABT TUITION RESERVE ACCOUNT WHICH IS TRANSFERRED TO THIS ACCOUNT AS TUITION LOAN PAYMENTS ARE
COLLECTED
49
     PAYROLL AND UTILITIES (PPP)
50
 PRIMARY CHECKING ACCT FOR THE SCHOOL, UTILIZED TO PAY OPERATING EXPENSES. FUNDS RECEIVED ARE PRIMARILY
EVERYTHING OTHER THAN TUITION, ALTHOUGH DOES RECEIVE FUNDS VIA CHECK/CASH FOR TUITION FROM SOME PARENTS. ALSO
RECEIVES FUNDS TRANSFERRED FROM THE SCHOOL'S FABT OPERATING ACCOUNT DURING THE SECOND HALF OF THE FISCAL
YEAR
51
 THIS ACCOUNT FUNDS THE SCHOOL'S PAYROLL AND ALSO PAYS PAYROLL TAXES WITHHELD. IN ADDITION THE ACCOUNT PAYS
THIRD PARTIES FOR RETIREMENT AND OTHER BENEFIT PAYROLL WITHHOLDINGS AND/OR RELATED EXPENSES OF THE SCHOOL.
FUNDS RECEIVED HERE ARE TRANSFERRED FROM THE SCHOOL'S OPERATING ACCTS.
52
 THIS ACCOUNT HOLDS NET FUNDRAISING MONEY GENERATED BY THE SCC QB CLUB. ACTIVITY IS RECEIPTS FROM FUNDRAISING
AND USE OF THOSE FUNDS PRIMARILY TO SUPPORT THE FOOTBALL TEAM BUT SOME OD THE MONEY IS OCCASIONALLY USED FOR
TO SUPPORT OTHER SCHOOL SPORTS. THE NET AMOUNT IS ALWAYS OFFSET BY AN AGENCY ACCOUNT LIABILITY.
53
     PAYROLL/TAXES
54
     CURRENT YEAR TUITION
55
     TUITION LOANS CURRENT YEAR
56
     MM/OPERATING YEAR
57
     GENERAL OPERATING
58
     SCHOOL CLUB FEES
59
     LOAN RECEIPTS
60
     LOAN PAYMENTS STILL DUE FROM PARENTS
61
     ACCOUNTS PAYABLE ESTIMATES
62
     PART OF CUSTODIAN-MANAGED FUNDS
63
     CHECK WRITING
64
     RECEIVING PAYPAL
65
     HOLDING FUNDS
66
     RECEIVING FACTS REMITTANCES
67
     HOLDING CAPITAL FUNDS



4.        Other cash equivalents (Identify all)
          Description              Name of institution        Type of account       Last 4 digits of account   Current value of
                                                                                    number                     debtor’s interest

4.1.      _____________________ ________________________ _____________________ _____________________ $_______________




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5.      Total of part 1
        Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.               $25,519,855.49

 Part 2:      Deposits and prepayments

6.      Does the debtor have any deposits or prepayments?

        ¨ No. Go to Part 3.
        þ Yes. Fill in the information below
7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit                                                         Current value of
                                                                                                                   debtor’s interest

7.1.      RETAINER BALANCE - PROFESSIONAL SERVICES                                                                 $880.00

          CARR RIGGS & INGRAM, LLC
          111 VETERANS BLVD.
          SUITE 350
          METAIRIE LA 70005

7.2.      RETAINER BALANCE - PROFESSIONAL SERVICES                                                                 $9,169.00

          DONLIN RECANO & COMPANY, INC.
          6201 15TH AVENUE
          BROOKLYN NY 11219

7.3.      RETAINER BALANCE - PROFESSIONAL SERVICES                                                                 $101,390.94
          JONES WALKER, LLP
          201 ST. CHARLES AVE.
          SUITE 5100
          NEW ORLEANS LA 70170

7.4.      DEPOSITS FOR FUTURE FUNCTIONS                                                                            $22,208.85

          VINTAGE ROCK CLUB
          1007 POYDRAS STREET
          NEW ORLEANS LA 70062

8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment                                                      Current value of
                                                                                                                   debtor’s interest

8.1.      PREPAID TUITION AND REGISTRATION FEES                                                                    $1,423,306.92
          ACADEMY OF OUR LADY

8.2.      PREPAID TUITION AND REGISTRATION FEES                                                                    $1,389,920.82
          ARCHBISHOP CHAPELLE HIGH SCHOOL

8.3.      PREPAID TUITION AND REGISTRATION FEES                                                                    $557,606.35
          ARCHBISHOP HANNAN HIGH SCHOOL

8.4.      PREPAID TUITION AND REGISTRATION FEES                                                                    $718,223.00
          ARCHBISHOP RUMMEL HIGH SCHOOL

8.5.      PREPAID TUITION AND REGISTRATION FEES                                                                    $338,667.76

          ARCHBISHOP SHAW HIGH SCHOOL

8.6.      STUDENT ACCIDENT                                                                                         $88,418.50

          BOLLINGER SPECIALTY GROUP
8.7.      UMBRELLA PROPERTY INSURANCE COVERAGE                                                                     $38,581.50

          CATHOLIC UMBRELLA POOL




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         General description                                             Net book value of    Valuation method     Current value of
                                                                         debtor's interest    used for current     debtor’s interest
                                                                         (Where available)    value

39.      Office furniture
39.1.    OWNED1                                                          $185,473.00          Net Book Value       $185,473.00
                 2
39.2.    OWNED                                                           $64,224.00           Net Book Value       $64,224.00


1
    ARCHDIOCESE OF NEW ORLEANS - ADMINISTRATIVE OFFICES, ST. LOUIS CATHDERAL, OUR LADY OF GUADALOUPE
2
    ARCHBISHOP SHAW HIGH SCHOOL



40.        Office fixtures
40.1.      SEE RESPONSE AT PART 7, NO. 39                                 $_______________    _________________ $_______________

41.        Office equipment, including all computer equipment and
           communication systems equipment and software

                                                                          Net book value of   Valuation method     Current value of
                                                                          debtor's interest   used for current     debtor’s interest
                                                                                              value

41.1.      OWNED1                                                         $389,503.00         Net Book Value       $389,503.00

41.2.      LEASED2                                                        $841,219.00         Net Book Value       UNKNOWN


1
    HIGH SCHOOLS - OWNED
2
    HIGH SCHOOLS - LEASED



42.        Collectibles. Examples: Antiques and figurines; paintings, prints, or other
           artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
           or baseball card collections; other collections, memorabilia, or collectibles
42.1.      GARRISON ST. LAZARUS HISTORICAL DOUMENTS1                       $122,000.00        N/A                  UNDETERMINED

42.2.      ST. LOUIS CATHEDRAL MONSTRANCE 09-001-082                       $62,000.00         N/A                  $100,000.00
           DIFFERENT VIEWS2

42.3.      OFFSITE STORAGE ROOM 1077- 08/058/034 ARTIFACTS -               UNDETERMINED       N/A                  UNDETERMINED
           CANDLESTICK3
42.4.      OFFSITE STORAGE ROOM 1077- 08/016/051 ARTIFACTS -               UNDETERMINED       N/A                  UNDETERMINED
           WOODEN CROSS, OUR LADY OF GOOD COUNSEL PARISH3

42.5.      OFFSITE STORAGE ROOM 1077- 09/300/052 ARTIFACTS -               UNDETERMINED       N/A                  UNDETERMINED
           PEW3

42.6.      OFFSITE STORAGE ROOM 1077- 10/058/077 ARTIFACTS -               UNDETERMINED       N/A                  UNDETERMINED
           STATUE PEDESTAL3

42.7.      OFFSITE STORAGE ROOM 1077- 13/313/003 ARTIFACTS -               UNDETERMINED       N/A                  UNDETERMINED
           ALTAR, ST. JOSEPH, ST. JOHN BOSCO CHAPEL3

42.8.      OFFSITE STORAGE ROOM 1077- SO/2015/0030 ARTIFACTS - UNDETERMINED                   N/A                  UNDETERMINED
           SACRARIUM3

42.9.      OFFSITE STORAGE ROOM 1077- SO/2015/0054 ARTIFACTS - UNDETERMINED                   N/A                  UNDETERMINED
           ST. FRANCIS OF ASSISI STATUE3

42.10.     OFFSITE STORAGE ROOM 1077- SO/2015/0062 ARTIFACTS - UNDETERMINED                   N/A                  UNDETERMINED
           ST. ANDREW CORSINI, O.CARM3

42.11.     OFFSITE STORAGE ROOM 1077- SO/2016/0047 ARTIFACTS - UNDETERMINED                   N/A                  UNDETERMINED
           TABERNACLE, HOTEL DIEU HOSPITAL3


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42.12.    OFFSITE STORAGE ROOM 1077- SO/2016/0070 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          ST. FRANCIS OF ASSISI STATUTE (OUTSIDE STATUTE)3

42.13.    OFFSITE STORAGE ROOM 1077- SO/2016/0083 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          BILLBOARD3
42.14.    OFFSITE STORAGE ROOM 1077- SO/2016/0084 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          CROSS (WOOD)3

42.15.    OFFSITE STORAGE ROOM 1077- SO/2016/0089 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          PEDESTAL3
42.16.    OFFSITE STORAGE ROOM 1077- SO/2016/0091 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          CANDLESTICK HOLDER3

42.17.    OFFSITE STORAGE ROOM 1077- SO/2016/0095 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          CROSS, CENTER OF JESUS THE LORD3

42.18.    OFFSITE STORAGE ROOM 1077- SO/2016/0140 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          CANDLESTICK HOLDER, OUR LADY OF GOOD COUNSEL
          PARISH (CLOSED)3

42.19.    OFFSITE STORAGE ROOM 1077- SO/2016/0142 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          ST. AGNES STATUE, ST. AGNES SCHOOL (CLOSED)3

42.20.    OFFSITE STORAGE ROOM 1077- SO/2016/0143 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          ST. RAYMOND STATUE3

42.21.    OFFSITE STORAGE ROOM 1077- SO/2016/0147 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          PASCAL CANDLE HOLDER, OUR LADY OF GOOD COUNSEL
          PARISH (CLOSED)3

42.22.    OFFSITE STORAGE ROOM 1077- SO/2016/0148 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          CANDLESTICK HOLDER, OUR LADY OF GOOD COUNSEL
          PARISH (CLOSED)3
42.23.    OFFSITE STORAGE ROOM 1077- SO/2016/0149 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          METAL CROSS, IMMACULATE HEART OF MARY PARISH
          (CLOSED)3
42.24.    OFFSITE STORAGE ROOM 1077- SO/2016/0150 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          PLAQUE, SCHULMERICH CARILLONIC BELLS, IMMACULATE
          HEART OF MARY PARISH (CLOSED)3

42.25.    OFFSITE STORAGE ROOM 1077- SO/2016/0168 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          HOLY WATER FONT3

42.26.    OFFSITE STORAGE ROOM 1077- SO/2017/0040 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          TABERNACLE, OUR LADY OF LOURDES, NEW ORLEANS
          (CLOSED)3

42.27.    OFFSITE STORAGE ROOM 1077- SO/2017/0041 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          TABERNACLE, OUR LADY OF LOURDES, NEW ORLEANS
          (CLOSED)3

42.28.    OFFSITE STORAGE ROOM 1077- SO/2017/0059 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          PIANO, OUR LADY OF GOOD COUNSEL PARISH3

42.29.    OFFSITE STORAGE ROOM 1077- SO/2017/0301 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          ST. JUDE STATUE3

42.30.    OFFSITE STORAGE ROOM 1077- SO/2017/0303 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          ST. ANTHONY OF PADUA STATUE3
42.31.    OFFSITE STORAGE ROOM 1077- SO/2017/0304 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          ST. THERESE OF THE LITTLE FLOWER OF JESUS STATUE3

42.32.    OFFSITE STORAGE ROOM 1077- SO/2017/0305 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          SACRED HEART OF JESUS STATUE3

42.33.    OFFSITE STORAGE ROOM 1077- SO/2017/0306 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          ST. JUDE STATUE3
42.34.    OFFSITE STORAGE ROOM 1077- SO/2017/0307 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          VASE3



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42.35.    OFFSITE STORAGE ROOM 1077- SO/2017/0308 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          VASE3

42.36.    OFFSITE STORAGE ROOM 1077- SO/2017/0309 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          CANDLESTICK HOLDER3
42.37.    OFFSITE STORAGE ROOM 1077- SO/2017/0310 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          CANDLESTICK HOLDER3

42.38.    OFFSITE STORAGE ROOM 1077- SO/2017/0312 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          AMBRY3
42.39.    OFFSITE STORAGE ROOM 1077- SO/2017/0313 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          AMBRY, EPIPHANY PARISH3

42.40.    OFFSITE STORAGE ROOM 1077- SO/2017/0314 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          HYMN BOARD3

42.41.    OFFSITE STORAGE ROOM 1077- SO/2017/0315 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          CANDLESTICK HOLDER3
42.42.    OFFSITE STORAGE ROOM 1077- SO/2017/0316 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          CANDLESTICK HOLDER3

42.43.    OFFSITE STORAGE ROOM 1077- SO/2017/0317 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          THURIBLE AND BOWL3

42.44.    OFFSITE STORAGE ROOM 1077- SO/2017/0318 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          CANDLESTICK, OUR LADY OF GOOD COUNSEL PARISH3

42.45.    OFFSITE STORAGE ROOM 1077- SO/2017/0319 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          CANDLESTICK, OUR LADY OF GOOD COUNSEL PARISH3
42.46.    OFFSITE STORAGE ROOM 1077- SO/2017/0320 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          CANDLESTICK, OUR LADY OF GOOD COUNSEL PARISH3

42.47.    OFFSITE STORAGE ROOM 1077- SO/2017/0321 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          CANDLESTICK, OUR LADY OF GOOD COUNSEL PARISH3
42.48.    OFFSITE STORAGE ROOM 1077- SO/2017/0322 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          CANDLESTICK, OUR LADY OF GOOD COUNSEL PARISH3
42.49.    OFFSITE STORAGE ROOM 1077- SO/2017/0323 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          CANDLESTICK, OUR LADY OF GOOD COUNSEL PARISH3

42.50.    OFFSITE STORAGE ROOM 1077- SO/2017/0324 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          CANDLESTICK, OUR LADY OF GOOD COUNSEL PARISH3
42.51.    OFFSITE STORAGE ROOM 1077- SO/2017/0326 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          BANNER STAND3

42.52.    OFFSITE STORAGE ROOM 1077- SO/2017/0327 RTIFACTS -   UNDETERMINED      N/A             UNDETERMINED
          HYMN BOARD3

42.53.    OFFSITE STORAGE ROOM 1077- SO/2017/0328 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          PASCAL CANDLEHOLDER3

42.54.    OFFSITE STORAGE ROOM 1077- SO/2017/0329 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          THURIBLE AND STAND, OUR LADY OF GOOD COUNSEL
          PARISH (CLOSED)3

42.55.    OFFSITE STORAGE ROOM 1077- SO/2018/0009 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          CORPUS OF JESUS3

42.56.    OFFSITE STORAGE ROOM 1077- SO/2018/0010 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          BAPTISMAL FONT3

42.57.    OFFSITE STORAGE ROOM 1077- SO/2018/0011 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          SENSOR CONTAINER3

42.58.    OFFSITE STORAGE ROOM 1077- SO/2018/0012 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          CANDLE (GAS)3

42.59.    OFFSITE STORAGE ROOM 1077- SO/2018/0013 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          FLAG STAND3



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42.60.    OFFSITE STORAGE ROOM 1077- SO/2018/0042 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          CROSS3

42.61.    OFFSITE STORAGE ROOM 1077- SO/2018/0043 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          CROSS3
42.62.    OFFSITE STORAGE ROOM 1077- SO/2018/0053 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          BANNERS IN TUBES (4)3

42.63.    OFFSITE STORAGE ROOM 1077- SO/2018/0054 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          IRON CROSS3
42.64.    OFFSITE STORAGE ROOM 1077- SO/2018/0055 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          SMALL IRON CROSS3

42.65.    OFFSITE STORAGE ROOM 1077- SO/2018/0056 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          ST. MARTIN DE PORRES STAINED GLASS WINDOW,
          IMMACULATE HEART OF MARY PARISH3

42.66.    OFFSITE STORAGE ROOM 1077- SO/2018/0057 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          MARBLE SUPPORTS (PART OF ALTAR), ST. JOHN BOSCO
          CHAPEL3

42.67.    OFFSITE STORAGE ROOM 1077- SO/2018/0058 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          STAINED GLASS WINDOWS3

42.68.    OFFSITE STORAGE ROOM 1077- SO/2018/0059 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          SHELVING UNITS3

42.69.    OFFSITE STORAGE ROOM 1077- SO/2018/0061 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          ALTAR, MARBLE SLABS, ST. JOHN BOSCO CHAPEL3

42.70.    OFFSITE STORAGE ROOM 1077- SO/2018/0062 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          ALTAR, MARBLE SLABS, ST. JOHN BOSCO CHAPEL3
42.71.    OFFSITE STORAGE ROOM 1077- SO/2018/0063 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          MARBLE SUPPORTS3

42.72.    OFFSITE STORAGE ROOM 1077- SO/2018/0196 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          POOR BOX3

42.73.    OFFSITE STORAGE ROOM 1077- SO/2019/0073 ARTIFACTS - UNDETERMINED       N/A             UNDETERMINED
          HARPSICHORD, OLD URSULINE CONVENT3
42.74.    ST. LOUIS CATHEDRAL STATUE 09-001-007 ST. LOUIS KING   UNDETERMINED    N/A             UNDETERMINED
          OF FRANCE PLAQUE4

42.75.    ST. LOUIS CATHEDRAL STATUE 09-001-007 ST. LOUIS KING   UNDETERMINED    N/A             UNDETERMINED
          OF FRANCE4

42.76.    ST. LOUIS CATHEDRAL STATUE 09-001-008 ST.JOAN OF       UNDETERMINED    N/A             UNDETERMINED
          ARC PLAQUE4

42.77.    ST. LOUIS CATHEDRAL STATUE 09-001-008 ST.JOAN OF       UNDETERMINED    N/A             UNDETERMINED
          ARC4

42.78.    ST. LOUIS CATHEDRAL STATUE 09-001-009 SACRED           UNDETERMINED    N/A             UNDETERMINED
          HEART OF JESUS4

42.79.    ST. LOUIS CATHEDRAL STATUE 09-001-010 ST. ANTHONY      UNDETERMINED    N/A             UNDETERMINED
          OF PADUA4

42.80.    ST. LOUIS CATHEDRAL STATUE 09-001-017 ST. JOSEPH4      UNDETERMINED    N/A             UNDETERMINED

42.81.    ST. LOUIS CATHEDRAL ARTWORK 09-001-018 ST. FRANCIS     UNDETERMINED    N/A             UNDETERMINED
          STIGMATA4

42.82.    ST. LOUIS CATHEDRAL ARTWORK 09-001-019 SACRED          UNDETERMINED    N/A             UNDETERMINED
          HEART MOSAIC4

42.83.    ST. LOUIS CATHEDRAL STATUE 09-001-023 BVM OUR LADY     UNDETERMINED    N/A             UNDETERMINED
          OF VICTORY4

42.84.    ST. LOUIS CATHEDRAL ART WORK 09-001-024 BVM4           UNDETERMINED    N/A             UNDETERMINED

42.85.    ST. LOUIS CATHEDRAL CRUCIFIX 09-001-028                UNDETERMINED    N/A             UNDETERMINED
          METROPOLITAN CRUCIFIX AND STAND4

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42.86.    ST. LOUIS CATHEDRAL STATUE 09-001-032 ST. PETER4          UNDETERMINED   N/A             UNDETERMINED
                                                           4
42.87.    ST. LOUIS CATHEDRAL STATUE 09-001-033 ST. PAUL            UNDETERMINED   N/A             UNDETERMINED

42.88.    ST. LOUIS CATHEDRAL ARTWORK 09-001-046 BALCONY R1         UNDETERMINED   N/A             UNDETERMINED
          ST. PAUL4

42.89.    ST. LOUIS CATHEDRAL ARTWORK 09-001-046 BALCONY L1         UNDETERMINED   N/A             UNDETERMINED
          ST. PETER4
42.90.    ST. LOUIS CATHEDRAL STATUES 09/001/047 FAITH, HOPE,       UNDETERMINED   N/A             UNDETERMINED
          CHARITY4

42.91.    ST. LOUIS CATHEDRAL STATUE 09-001-057 BVM MARY            UNDETERMINED   N/A             UNDETERMINED
          QUEEN OF FREEDOM4

42.92.    ST. LOUIS CATHEDRAL STATUE 09-001-058 ST. THERESE         UNDETERMINED   N/A             UNDETERMINED
          OF LISIEUX4
42.93.    ST. LOUIS CATHEDRAL ARTWORK 09-001-067 SACRED             UNDETERMINED   N/A             UNDETERMINED
          HEART OF JESUS4

42.94.    ST. LOUIS CATHEDRAL ARTWORK 09-001-067 BVM                UNDETERMINED   N/A             UNDETERMINED
          IMMACULATE HEART OF MARY4

42.95.    ST. LOUIS CATHEDRAL ARTWORK 09-001-094 HOLY FAMILY UNDETERMINED          N/A             UNDETERMINED
          4


42.96.    ST. LOUIS CATHEDRAL ARTWORK 09-001-094 APOSTLES4          UNDETERMINED   N/A             UNDETERMINED
                                                                4
42.97.    ST. LOUIS CATHEDRAL ARTWORK 09-001-206 MALE SAINT         UNDETERMINED   N/A             UNDETERMINED

42.98.    ST. LOUIS CATHEDRAL ARTWORK 09-001-207 ARCHBHP            UNDETERMINED   N/A             UNDETERMINED
          PERCHE4

42.99.    ST. LOUIS CATHEDRAL ARTWORK 09-001-208 CRUCIFIXION UNDETERMINED          N/A             UNDETERMINED
          4


42.100.   ST. LOUIS CATHEDRAL ARTWORK 09-001-209 CRUCIFIXION UNDETERMINED          N/A             UNDETERMINED
          NICHOLAI POISSIN4

42.101.   ST. LOUIS CATHEDRAL ARTWORK 09-001-218 GIFT TO            UNDETERMINED   N/A             UNDETERMINED
          ARCHBHP HUGHES4

42.102.   ST. LOUIS CATHEDRAL ARTWORK 09-001-099 SCULPTURE          UNDETERMINED   N/A             UNDETERMINED
          OF HENRIETTE DELILLE4

42.103.   ST. LOUIS CATHEDRAL WINDOW 09-001-100 HENRIETTE           UNDETERMINED   N/A             UNDETERMINED
          WITH CHILDREN DEDICATION PLAQUE4
42.104.   ST. LOUIS CATHEDRAL WINDOW 09-001-100 HENRIETTE           UNDETERMINED   N/A             UNDETERMINED
          WITH CHILDREN4

42.105.   ST. LOUIS CATHEDRAL WINDOW 09-001-100 HENRIETTE AT UNDETERMINED          N/A             UNDETERMINED
          INFANT BAPTISM DEDICATION4

42.106.   ST. LOUIS CATHEDRAL WINDOW 09-001-100 HENRIETTE AT UNDETERMINED          N/A             UNDETERMINED
          INFANT BAPTISM4
42.107.   ST. LOUIS CATHEDRAL WINDOW 09-001-001#10                  UNDETERMINED   N/A             UNDETERMINED
          SAINTHOOD4

42.108.   ST. LOUIS CATHEDRAL WINDOW 09-001-001#9 BODY              UNDETERMINED   N/A             UNDETERMINED
          RETURNS HOME4

42.109.   ST. LOUIS CATHEDRAL WINDOW 09-001-001#8 SICKNESS          UNDETERMINED   N/A             UNDETERMINED
          AND DEATH4

42.110.   ST. LOUIS CATHEDRAL WINDOW 09-001-001#7 KING WITH         UNDETERMINED   N/A             UNDETERMINED
          LEPERS4

42.111.   ST. LOUIS CATHEDRAL WINDOW 09-001-001#6 KEY TO            UNDETERMINED   N/A             UNDETERMINED
          DAMIETTA4

42.112.   ST. LOUIS CATHEDRAL WINDOW 09-001-001#5 LEAVING           UNDETERMINED   N/A             UNDETERMINED
          FOR CRUSADES4



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42.113.   ST. LOUIS CATHEDRAL WINDOW 09-001-001#4 BUILDER OF   UNDETERMINED       N/A             UNDETERMINED
          CHURCH4

42.114.   ST. LOUIS CATHEDRAL WINDOW 09-001-001#3 MARRIAGE4    UNDETERMINED       N/A             UNDETERMINED

42.115.   ST. LOUIS CATHEDRAL WINDOW 09-001-001#2              UNDETERMINED       N/A             UNDETERMINED
          CORONATION4

42.116.   ST. LOUIS CATHEDRAL WINDOW 09-001-001#1 DR. H.       UNDETERMINED       N/A             UNDETERMINED
          OIDTMANN PURVEYORS PLAQUE4
42.117.   ST. LOUIS CATHEDRAL WINDOW 08-001-001#1 CHILDREN     UNDETERMINED       N/A             UNDETERMINED
          OF MARY PLAQUE4

42.118.   ST. LOUIS CATHEDRAL WINDOW 09-001-001#1 CHILD WITH   UNDETERMINED       N/A             UNDETERMINED
          MOTHER4

42.119.   ST. LOUIS CATHEDRAL STATIONS OF THE CROSS 09-001-    UNDETERMINED       N/A             UNDETERMINED
          003 #144
42.120.   ST. LOUIS CATHEDRAL STATIONS OF THE CROSS 09-001-    UNDETERMINED       N/A             UNDETERMINED
          003 #134

42.121.   ST. LOUIS CATHEDRAL STATIONS OF THE CROSS 09-001-    UNDETERMINED       N/A             UNDETERMINED
          003 #124

42.122.   ST. LOUIS CATHEDRAL STATIONS OF THE CROSS 09-001-    UNDETERMINED       N/A             UNDETERMINED
          003 #114

42.123.   ST. LOUIS CATHEDRAL STATIONS OF THE CROSS 09-001-    UNDETERMINED       N/A             UNDETERMINED
          003 #104

42.124.   ST. LOUIS CATHEDRAL STATIONS OF THE CROSS 09-001-    UNDETERMINED       N/A             UNDETERMINED
          003 #94

42.125.   ST. LOUIS CATHEDRAL STATIONS OF THE CROSS 09-001-    UNDETERMINED       N/A             UNDETERMINED
          003 #84
42.126.   ST. LOUIS CATHEDRAL STATIONS OF THE CROSS 09-001-    UNDETERMINED       N/A             UNDETERMINED
          003 #74

42.127.   ST. LOUIS CATHEDRAL STATIONS OF THE CROSS 09-001-    UNDETERMINED       N/A             UNDETERMINED
          003 #64

42.128.   ST. LOUIS CATHEDRAL STATIONS OF THE CROSS 09-001-    UNDETERMINED       N/A             UNDETERMINED
          003 #54
42.129.   ST. LOUIS CATHEDRAL STATIONS OF THE CROSS 09-001-    UNDETERMINED       N/A             UNDETERMINED
          003 #44

42.130.   ST. LOUIS CATHEDRAL STATIONS OF THE CROSS 09-001-    UNDETERMINED       N/A             UNDETERMINED
          003 #34

42.131.   ST. LOUIS CATHEDRAL STATIONS OF THE CROSS 09-001-    UNDETERMINED       N/A             UNDETERMINED
          003 #24

42.132.   ST. LOUIS CATHEDRAL STATIONS OF THE CROSS 09-001-    UNDETERMINED       N/A             UNDETERMINED
          003 #14

42.133.   OFFSITE STORAGE ROOM 1010- 07/032/073 ARTIFACTS -    UNDETERMINED       N/A             UNDETERMINED
          GOD THE FATHER STAINED GLASS3

42.134.   OFFSITE STORAGE ROOM 1010- 07/032/075 ARTIFACTS -    UNDETERMINED       N/A             UNDETERMINED
          HOLY SPIRIT STAINED GLASS3

42.135.   OFFSITE STORAGE ROOM 1010- 08/064/036 ARTIFACTS -    UNDETERMINED       N/A             UNDETERMINED
          MARBLE ALTAR TOP3

42.136.   OFFSITE STORAGE ROOM 1010- 08/118/101 ARTIFACTS -    UNDETERMINED       N/A             UNDETERMINED
          RESURRECATION STAINED GLASS3

42.137.   OFFSITE STORAGE ROOM 1010- 08/118/102 ARTIFACTS -    UNDETERMINED       N/A             UNDETERMINED
          HOLY IMAGES STAINED GLASS3

42.138.   OFFSITE STORAGE ROOM 1010- 08/118/103 ARTIFACTS -    UNDETERMINED       N/A             UNDETERMINED
          EUCHARIST STAINED GLASS3


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42.139.   OFFSITE STORAGE ROOM 1010- 08/118/104 ARTIFACTS -      UNDETERMINED     N/A             UNDETERMINED
          THE 4 GOSPELS STAINED GLASS3

42.140.   OFFSITE STORAGE ROOM 1010- 08/118/105 ARTIFACTS -      UNDETERMINED     N/A             UNDETERMINED
          HOLY SYMBOLS STAINED GLASS3
42.141.   OFFSITE STORAGE ROOM 1010- 08/118/106 ARTIFACTS -      UNDETERMINED     N/A             UNDETERMINED
          HOLY SPIRIT AND CROSS STAINED GLASS3

42.142.   OFFSITE STORAGE ROOM 1010- 08/118/107 ARTIFACTS -      UNDETERMINED     N/A             UNDETERMINED
          RISEN CHRIST STAINED GLASS3
42.143.   OFFSITE STORAGE ROOM 1010- 08/118/108 ARTIFACTS -      UNDETERMINED     N/A             UNDETERMINED
          ASCENSION OF CHRIST STAINED GLASS3

42.144.   OFFSITE STORAGE ROOM 1010- 08/118/109 ARTIFACTS -      UNDETERMINED     N/A             UNDETERMINED
          PENTECOST STAINED GLASS3

42.145.   OFFSITE STORAGE ROOM 1010- 08/118/110 ARTIFACTS -      UNDETERMINED     N/A             UNDETERMINED
          BLESSED VIRGIN MARY STAINED GLASS3
42.146.   OFFSITE STORAGE ROOM 1010- 08/118/111 ARTIFACT -       UNDETERMINED     N/A             UNDETERMINED
          QUEENSHIP OF MARY STAINED GLASS3

42.147.   OFFSITE STORAGE ROOM 1010- 08/118/112 ARTIFACT-        UNDETERMINED     N/A             UNDETERMINED
          ANCIENT LAMP STAINED GLASS3

42.148.   OFFSITE STORAGE ROOM 1010- 08/118/113 ARTIFACT -       UNDETERMINED     N/A             UNDETERMINED
          HOLY SPIRIT STAINED GLASS3

42.149.   OFFSITE STORAGE ROOM 1010- 08/118/114 ARTIFACT - ST.   UNDETERMINED     N/A             UNDETERMINED
          ROBERT STAINED GLASS3
42.150.   OFFSITE STORAGE ROOM 1010- 08/018/069 ARTIFACT - ST.   UNDETERMINED     N/A             UNDETERMINED
          THERESA OF THE LITTLE FLOWER ALTAR3

42.151.   OFFSITE STORAGE ROOM 1010- SO/2019/0444 ARTIFACTS - UNDETERMINED        N/A             UNDETERMINED
          STAINED GLASS WINDOWS -- HOTEL DIEU3
42.152.   OFFSITE STORAGE ROOM 1010- SO/2019/0445 ARTIFACTS - UNDETERMINED        N/A             UNDETERMINED
          STAINED GLASS WINDOWS -- HOTEL DIEU3
42.153.   OFFSITE STORAGE ROOM 1010- SO/2019/0446 ARTIFACTS - UNDETERMINED        N/A             UNDETERMINED
          STAINED GLASS WINDOWS -- HOTEL DIEU3

42.154.   OFFSITE STORAGE ROOM 1077- 00006/57/5 ARTIFACTS -      UNDETERMINED     N/A             UNDETERMINED
          ST. JOAN OF ARC STATUE3
42.155.   OFFSITE STORAGE ROOM 1077- 00006/57/2 ARTIFACTS -      UNDETERMINED     N/A             UNDETERMINED
          ST. LOUIS KING OF FRANCE STATUE3

42.156.   OFFSITE STORAGE ROOM 1077- 00001/60/43 ARTIFACTS -     UNDETERMINED     N/A             UNDETERMINED
          ST. MICHAEL THE ARCHANGEL STATUE3

42.157.   OFFSITE STORAGE ROOM 1077- 07/114/013 ARTIFACTS -      UNDETERMINED     N/A             UNDETERMINED
          RISEN CHRIST CRUCIFIX3

42.158.   OFFSITE STORAGE ROOM 1077- 08/064/026 ARTIFACTS -      UNDETERMINED     N/A             UNDETERMINED
          CRUCIFIX CORPUS ONLY3

42.159.   OFFSITE STORAGE ROOM 1077- 08/118/025 ARTIFACTS -      UNDETERMINED     N/A             UNDETERMINED
          INCENSER3

42.160.   OFFSITE STORAGE ROOM 1077- 08/058/001 ARTIFACTS -      UNDETERMINED     N/A             UNDETERMINED
          CRUCIFIX3

42.161.   1938 EUCHARISTIC CONGRESS MONSTRANCE PRECIOUS          UNDETERMINED     N/A             $1,000,000.00
          METAL - OLD URSULINE CONVENT MUSEUM5

42.162.   1938 EUCHARISTIC CONGRESS CANDLESTICKS METAL -         $25,000.00       N/A             UNDETERMINED
          OLD URSULINE CONVENT MUSEUM6

42.163.   DON ANDRES ALMONESTER Y ROXAS C. 1796 OIL ON           UNDETERMINED     N/A             $675,000.00
          CANVAS - OLD URSULINE CONVENT MUSEUM7

42.164.   PER ANTOINE DE SEDELLA C. 1790 OIL ON CANVAS - OLD     UNDETERMINED     N/A             UNDETERMINED
          URSULINE CONVENT MUSEUM8

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42.165.     PERE ANTOINE PORTRAIT C. 1800 OIL ON CANVAS -        UNDETERMINED       N/A             $375,000.00
            LOUISIANA STATE MUSEUM - ON LOAN9

42.166.     ARCHBISHOP ANTOINE BLANC OIL ON CANVAS - OLD         UNDETERMINED       N/A             $50,000.00
            URSULINE CONVENT MUSEUM10
42.167.     ST. JOAN OF ARC OIL ON CANVAS - OLD URSULINE         UNDETERMINED       N/A             UNDETERMINED
            CONVENT MUSEUM8

42.168.     ASSUMPTION OF THE BLESSED VIRGIN MARY STATUE -       UNDETERMINED       N/A             UNDETERMINED
            OLD URSULINE CONVENT MUSEUM8
42.169.     OUR LADY OF VICTORY STATUE - OLD URSULINE            UNDETERMINED       N/A             UNDETERMINED
            CONVENT MUSEUM8

42.170.     SILVER CANDLESTICKS SILVER - OLD URSULINE CONVENT UNDETERMINED          N/A             UNDETERMINED
            MUSEUM8

42.171.     PORTRAITS OF THE BISHOPS OIL ON CANVAS - OLD         UNDETERMINED       N/A             UNDETERMINED
            URSULINE CONVENT MUSEUM8
42.172.     DEWIT EVANGELIST SKETCHES SKETCHES - WALMSLEY8       UNDETERMINED       N/A             UNDETERMINED

42.173.     ARRIVAL OF THE URSULINES CHARCOAL - OLD URSULINE     UNDETERMINED       N/A             UNDETERMINED
            CONVENT MUSEUM8

42.174.     ST. CHARLES BORROMEO NEEDLEWORK - WALMSLEY8          UNDETERMINED       N/A             UNDETERMINED

42.175.     ST. ROBERT BELLERMINE STATUE - OLD URSULINE          UNDETERMINED       N/A             UNDETERMINED
            CONVENT MUSEUM8

42.176.     ST. FRANCIS OF ASSISI OIL ON CANVAS - ST. LOUIS      UNDETERMINED       N/A             UNDETERMINED
            CATHEDRAL8

42.177.     MOTHER OF CHRIST, PRAY FOR US OIL ON CANVAS - ST.    UNDETERMINED       N/A             UNDETERMINED
            LOUIS CATHEDRAL8
42.178.     METROPOLITAN CROSS PRECIOUS METAL - ST. LOUIS        UNDETERMINED       N/A             UNDETERMINED
            CATHEDRAL8

42.179.     PORTRAIT OF A SAINT OIL ON CANVAS - CATHEDRAL        UNDETERMINED       N/A             UNDETERMINED
            RECTORY8

42.180.     PORTRAIT OF ARCHBISHOP PERCHE OIL ON CANVAS -        UNDETERMINED       N/A             UNDETERMINED
            CATHEDRAL RECTORY8
42.181.     JESUS AFTER THE CRUCIFIXION OIL ON CANVAS -          UNDETERMINED       N/A             UNDETERMINED
            CATHEDRAL RECTORY8

42.182.     PAINTING OF THE CRUCIFIXION OIL ON CANVAS -          UNDETERMINED       N/A             UNDETERMINED
            CATHEDRAL RECTORY8

42.183.     HENRIETTE DELILLE SCULPTURE - ST. LOUIS CATHEDRAL8 UNDETERMINED         N/A             UNDETERMINED

42.184.     STERLING SILVER/GOLD PLATED MONSTANCE WITH           UNDETERMINED       N/A             $100,000.00
            GARNETS & AMETHYSTS11

42.185.     VARIOUS ITEMS ON FILE WITH THE ARCHDIOCESE OF        UNDETERMINED       N/A             $100,000.00
            NEW ORLEANS11
42.186.     VARIOUS ITEMS ON FILE WITH THE ARCHDIOCESE OF        UNDETERMINED       N/A             $52,000.00
            NEW ORLEANS AT CCHC12

42.187.     ARCHBISHOP'S JEWELRY13                               UNDETERMINED       N/A             $40,700.00


1
    RECORDED AT COST ON ANO'S BOOKS AS AN OTHER ASSET WITH INDEFINITE LIFE.
2
    RECORDED AT COST ON ANO'S BOOKS, INDEFINITE LIFE. INSURED FOR $100K.
3
    NOT INSURED - MINIMAL VALUE - INCLUDED B/C OF CANON LAW FOR SACRED OBJECTS PER ARCHIVIST
4
    CONSIDERED PART OF THE INSURED VALUE OF THE BUILDING
5
    INSURED VALUE $1,000,000
6
    NOT INSURED - UNDER UMBRELLA POLICY

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7
    UNINSURED - SMITHSONIAN VALUED IN 2010 AT $675,000 BASED ON INSURANCE COVERAGE
8
    UNINSURED
9
    UNINSURED -ON LOAN AT LA STATE MUSEUM (CABILDO) - INSURED VALUE BASED ON LOAN WAS $375,000
10
     INSURED $50,000
11
     INSURED VALUE OF $100,000
12
     INSURED VALUE OF $52,000
13
     INSURED VALUE OF $40,700



43.     Total of part 7
        Add lines 39 through 42. Copy the total to line 86.                                                               $3,131,900.00

44.     Is a depreciation schedule available for any of the property listed in Part 7?

        ¨ No
        þ Yes
45.     Has any of the property listed in Part 7 been appraised by a professional within the last year?

        þ No
        ¨ Yes
    Part 8:     Machinery, equipment, and vehicles

46.     Does the debtor own or lease any machinery, equipment, or vehicles?

        ¨ No. Go to Part 9.
        þ Yes. Fill in the information below.
          General description                                                 Net book value of   Valuation method     Current value of
          Include year, make, model, and identification numbers (i.e., VIN,   debtor's interest   used for current     debtor’s interest
          HIN, or N-number)                                                   (Where available)   value
                                                                              (Where available)
47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
47.1.     2008 FORD TAURUS-ARCH HUGHES, VIN #                                 $0.00               Kelly Blue Book      $3,166.00
          1FAHP24W28G134302                                                                       Value

47.2.     2005 FORD F150, VIN #1FTRF12285NC09233                              $0.00               Kelly Blue Book      $4,263.00
                                                                                                  Value

47.3.     2013 CHEVROLET SILVERADO 1500, VIN                                  $0.00               Kelly Blue Book      $10,848.00
          #1GCRCSEA9DZ363913                                                                      Value

47.4.     2016 FORD EXPEDITION, VIN #1FMJK1HT8GEF46329                        $9,673.88           Kelly Blue Book      $32,492.00
                                                                                                  Value

47.5.     2015 FORD EXPEDITION, VIN #1FMJK1HT2FEF05659                        $6,111.42           Kelly Blue Book      $25,789.00
                                                                                                  Value

47.6.     2018 CHEVROLET SILVERADO, VIN #1GCNCNEH1JZ110352                    $16,683.70          Kelly Blue Book      $18,133.00
                                                                                                  Value

47.7.     2018 CHEVROLET SILVERADO, VIN #1GCNCNEH1JZ110513                    $16,683.70          Kelly Blue Book      $18,133.00
                                                                                                  Value

47.8.     2000 FORD E-150 - HOPEHAVEN, VIN #1FMRE1121YHB91032                 $0.00               Kelly Blue Book      $1,671.00
                                                                                                  Value

47.9.     2005 FORD PICK UP - CAMP ABBEY, VIN                                 $0.00               Kelly Blue Book      $3,471.00
          #1FTRF12285NC09233                                                                      Value

47.10. 2012 KIA OPTIMA - VOCATION OFFICE, VIN                                 $0.00               Kelly Blue Book      $5,793.00
       #5XXGN4A73CG089598                                                                         Value



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47.11. 2007 DODGE CARAVAN, ADM STELLA MARIS MARITIME                $0.00        Kelly Blue Book        $2,168.00
       CENTER, VIN #2D4GP44L77R362058                                            Value

47.12. 1999 HMDE TRAILER, ADM HISPANIC APOSTOLATE, VIN              $0.00        Poctra.com, an         $2,505.00
       #ST582406SPLA                                                             online auction
                                                                                 website for vehicles

47.13. 2007 FORD F150, ADM - HISPANIC APOSTOLATE PASTORAL           $0.00        Carfax.com             $4,520.00
       SERVICES, VIN#1FTRF12W57KC39037

47.14. 2017 CHEVROLET SILVERADO, ST. LOUIS CATHEDRAL, VIN#          $0.00        Carfax.com             $15,070.00
       1GCNCNEC8HZ155464

47.15. 2018 TOYOTA COROLLA SD VIN#5YFBURHE3JP7714781                $10,006.00   Carfax.com             $12,380.00
                                                            1
47.16. 2017 TOYOTA SIENNA VAN VIN#5TDKZ3DC6HS891764                 $15,857.00   Carfax.com             $19,390.00

47.17. 2017 CHEVROLET TRAVERSE VIN#1GNKRGKD5HJ1358661               $10,756.00   Carfax.com             $14,970.00

47.18. 2012 STARTRANS SENATOR II VIN#1GB3G3BG3B11158301             $0.00        n/a                    UNDERTERMINED

47.19. 1999 BLUE BIRD BUS VIN#1GBKP32YXW33137072                    $0.00        n/a                    UNDERTERMINED
                                                                2
47.20. 2011 INTERNATIONAL PB10500 VIN#4DRBUSKN5BB273374             $0.00        n/a                    UNDERTERMINED
                                                                2
47.21. 2011 INTERNATIONAL PB10500 VIN#4DRBUSKN3BB273373             $0.00        n/a                    UNDERTERMINED

47.22. 2011 CHEVROLET SILVERADO 1500                                $13,109.00   Carfax.com             $8,140.00
       VIN#1GCNCPE02BF1349922

47.23. 1998 INTERNATIONAL SCHOOL BUS                                $0.00        n/a                    UNDERTERMINED
       VIN#1HVBBABN4WH5367632

47.24. 1996 THOMAS BUILT SCHOOL BUS                                 $2,837.62    n/a                    UNDERTERMINED
       VIN#1HVBBAAN6TH3254783

47.25. 2007 FORD F150 SUPERCAB VIN#1FTRX12W87NA035433               $0.00        Carfax.com             $2,150.00

47.26. 2015 TOYOTA CAMRY VIN#4T4BF1FK7FR5137244                     $711.27      Carfax.com             $10,220.00

47.27. 2014 FORD E-150 VAN VIN#1FTNE1EW1EDA397384                   $0.00        Carfax.com             $12,980.00

47.28. 1999 TRAILER PAAT VIN#47ZUB1620XX0056354                     $0.00        n/a                    UNDERTERMINED
                                                5
47.29. 2005 FORD F-150 VIN#1FTVXS12515NA76742                       $0.00        n/a                    UNDERTERMINED
                                                        5
47.30. 2007 THOMAS BUILT C2 VIN#4UZAAXCS17CS02159                   $0.00        n/a                    UNDERTERMINED

47.31. 2011 THOMAS BUILT SCHOOL BUS                                 $0.00        n/a                    UNDERTERMINED
       VIN#4UZABRDT8BCA965165

47.32. 2000 FREIGHT LINER THOMAS BODY                               $0.00        n/a                    UNDERTERMINED
       VIN#4UZ6CFAA7YCG899925

47.33. 2001 CHEVROLET SILVERADO VIN#1GCEC14W91Z2941255              $0.00        Carfax.com             $480.00
                                                    5
47.34. 1998 FRHT BLUEBIRD VIN#4UZ6CFAA1WC933548                     $0.00        n/a                    UNDERTERMINED

47.35. 2018 DODGE CARAG VIN#2C4RDGBGXJR1618516                      $14,877.24   Carfax.com             $12,410.00

47.36. 2018 DODGE CARAG VIN#2C4RDGBG9JR1617306                      $14,877.24   Carfax.com             $11,820.00

47.37. 2005 DODGE GRAND CARAVAN VIN#1D4GP24R95B2467056              $0.00        Carfax.com             $3,630.00
                                                            7
47.38. 2004 INTERNATIONAL BUS VIN#4DRBRABN14B973049                 $0.00        n/a                    UNDERTERMINED
                                                            7
47.39. 2006 INTERNATIONAL BUS VIN#4DRBUAFN36A211634                 $0.00        n/a                    UNDERTERMINED
                                                            7
47.40. 2005 INTERNATIONAL BUS VIN#4DRBUAAN65A983289                 $0.00        n/a                    UNDERTERMINED

47.41. 2008 HAUM TRAILER HAUM UTILITY TRAILER                       $0.00        n/a                    UNDERTERMINED
       VIN#16HPB14278G0936197

47.42. 2009 BLUE BIRD BUS VIN#1BAKGCPA99F2568567                    $1,141.93    n/a                    UNDERTERMINED
                                                                7
47.43. 1999 BLUE BIRD SCHOOL BUS VIN#1GDM7T1C9WJ520221              $0.00        n/a                    UNDERTERMINED

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47.44. 2007 FREIGHTLINER SCHOOL BUS VIN#                                      $0.00              n/a                    UNDERTERMINED
       4UZABRDD27CW251648

47.45. 2001 INTERNATIONAL 25500 VIN#1HVBBABM81H3859449                        $0.00              n/a                    UNDERTERMINED

47.46. 2018 THOMAS BUILT SCHOOL BUS                                           $66,166.00         n/a                    UNDERTERMINED
       VIN#4UZABRFD1JCJP29189

47.47. 2018 THOMAS BUILT SCHOOL BUS                                           $66,166.00         n/a                    UNDERTERMINED
       VIN#4UZABRFD3JCJP29199

47.48. 2013 FORD FUSION VIN#3FA6P0G74DR3679909                                $0.00              Carfax.com             $4,970.00

47.49. 1995 WELLS CARGO EW1622 VIN#1WC200G2XS20269                            $0.00              n/a                    UNDERTERMINED
                                                                  9
47.50. 2011 FORD FUSION VIN#3FAHP0GA7BR131884                                 $0.00              Carfax.com             $2,930.00
                                                                          9
47.51. 2002 FREIGHT LINER THOMAS VIN#4UZAAXBWX2CJ58970                        $0.00              n/a                    UNDERTERMINED

47.52. 2002 FREIGHT LINER THOMAS SCHOOL BUS                                   $0.00              n/a                    UNDERTERMINED
       VIN#4UZAAXAL92CK037139

47.53. 2006 FORD E 150 CARGO VAN VIN#1FTRE14W86DB146659                       $0.00              Carfax.com             $1,500.00

47.54. 1993 BLUE BIRD SCHOOL BUS VIN#1GDJ7T1P6PJ5186929                       $0.00              n/a                    UNDERTERMINED
                                                                      9
47.55. 2000 BLUE BIRD SCHOOL BUS VIN#1GDG7T1D9XJ518962                        $0.00              n/a                    UNDERTERMINED
                                                              9
47.56. 1999 FORD PICKUP VIN#1FTRF27L5XNA77591                                 $0.00              n/a                    UNDERTERMINED


1
    ACADEMNY OF OUR LADY
2
    ARCHBISHOP HANNAN HIGH SCHOOL
3
    ARCHBISHOP CHAPELLE HIGH SCHOOL
4
    ARCHBISHOP SHAW HIGH SCHOOL
5
    ST. SCHOLASTICA H.S., COVINGTON
6
    ST. MICHAEL SPECIAL SCHOOL
7
    POPE JOHN PAUL II HS
8
    ST. CHARLES CATHOLIC
9
    ARCHBISHOP RUMMEL HS



48.         Watercraft, trailers, motors, and related accessories. Examples: Boats,
            trailers, motors, floating homes, personal watercraft, and fishing vessels
48.1.       ___________________________________________________               $_______________   _________________ $_______________

49.       Aircraft and accessories
49.1.     ___________________________________________________                 $_______________   _________________      $_______________

50.       Other machinery, fixtures, and equipment (excluding farm machinery and equipment)
50.1.     ___________________________________________________                 $_______________   _________________      $_______________

51.     Total of part 8
        Add lines 47 through 50. Copy the total to line 87.                                                                $265,992.00

52.     Is a depreciation schedule available for any of the property listed in Part 8?

        ¨ No
        þ Yes


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53.     Has any of the property listed in Part 8 been appraised by a professional within the last year?

        þ No
        ¨ Yes
 Part 9:      Real property

54.     Does the debtor own or lease any real property?

        ¨ No. Go to Part 10.
        þ Yes. Fill in the information below.
           Description and location of property                  Nature and          Net book value      Valuation         Current value of
           Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
           Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
           (for example, acreage, factory, warehouse,            in property         (Where available)
           apartment or office building), if available.
55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.1.      JEFFERSON PARISH APN 9100006423                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

           LAND/BUILDING
           __________________________________________
           3600 CLAIRE AVE
           GRETNA LA 70053

55.2.      JEFFERSON PARISH APN 9910011847                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

           LAND/BUILDING

           __________________________________________
           8800 VETERANS MEMORIAL BLVD
           METAIRIE LA 70003

55.3.      JEFFERSON PARISH APN 9910011853                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

           LAND/BUILDING

           __________________________________________
           METAIRIE LA 70003

55.4.      JEFFERSON PARISH APN 9910011855                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

           LAND/BUILDING
           __________________________________________
           METAIRIE LA 70003

55.5.      JEFFERSON PARISH APN 9300002864                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

           LAND/BUILDING
           __________________________________________
           2548 APOLLO DR
           HARVEY LA 70058

55.6.      JEFFERSON PARISH APN 9300008307                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

           LAND/BUILDING

           __________________________________________
           2555 APOLLO DR
           HARVEY LA 70058

55.7.      JEFFERSON PARISH APN 9300009003                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

           LAND/BUILDING

           __________________________________________
           2136 MATADOR ST
           HARVEY LA 70058




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         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.8.    JEFFERSON PARISH APN 9920025972                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         1912 SHORT ST
         KENNER LA 70062

55.9.    JEFFERSON PARISH APN 9400001230                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         604 FIRST AVE
         HARVEY LA 70058

55.10.   JEFFERSON PARISH APN 9400001866                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         620 FIRST AVE
         HARVEY LA 70058

55.11.   JEFFERSON PARISH APN 9400001919                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         617 SECOND AVE
         HARVEY LA 70058

55.12.   JEFFERSON PARISH APN 9920025973                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         2400 33RD ST
         KENNER LA 70065

55.13.   JEFFERSON PARISH APN 9400004268                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         2115 OAKMERE DR
         HARVEY LA 70058

55.14.   JEFFERSON PARISH APN 9400004269                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         2114 OAKMERE DR
         HARVEY LA 70058

55.15.   JEFFERSON PARISH APN 9920026776                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         4119 ST ELIZABETH DR
         KENNER LA 70065




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         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.16.   JEFFERSON PARISH APN 9400005472                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         3334 MAGNOLIA RIDGE ST
         MARRERO LA 70072

55.17.   JEFFERSON PARISH APN 9920028688                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         4337 SAL LENTINI PKWY
         KENNER LA 70065

55.18.   JEFFERSON PARISH APN 9410003038                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         1131 BARATARIA BLVD
         MARRERO LA 70072

55.19.   JEFFERSON PARISH APN 9910011573                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         2501 OR 2505 MAINE ST
         METAIRIE LA 70003

55.20.   JEFFERSON PARISH APN 9420001956                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         1000 WESTWOOD DR
         MARRERO LA 70072

55.21.   JEFFERSON PARISH APN 9420008643                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         1000 SALESIAN LN
         MARRERO LA 70072

55.22.   JEFFERSON PARISH APN 9430005354                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         MARRERO LA 70072

55.23.   JEFFERSON PARISH APN 9430005624                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING
         __________________________________________
         5505 BARATARIA BLVD
         MARRERO LA 70072




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         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.24.   JEFFERSON PARISH APN 9430005628                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         3500 AMES BLVD
         MARRERO LA 70072

55.25.   JEFFERSON PARISH APN 9500006025                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         BRIDGE CITY LA 70094

55.26.   JEFFERSON PARISH APN 9500006760                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         BRIDGE CITY LA 70094

55.27.   JEFFERSON PARISH APN 9500006761                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         425 10TH ST
         BRIDGE CITY LA 70094

55.28.   JEFFERSON PARISH APN 9500006762                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         BRIDGE CITY LA 70094

55.29.   JEFFERSON PARISH APN 9500006763                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         BRIDGE CITY LA 70094

55.30.   JEFFERSON PARISH APN 9500006764                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING
         __________________________________________
         BRIDGE CITY LA 70094

55.31.   JEFFERSON PARISH APN 9500006765                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         BRIDGE CITY LA 70094

55.32.   JEFFERSON PARISH APN 9500006766                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         BRIDGE CITY LA 70094




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         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.33.   JEFFERSON PARISH APN 9500006767                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         BRIDGE CITY LA 70094

55.34.   JEFFERSON PARISH APN 9500006768                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         BRIDGE CITY LA 70094

55.35.   JEFFERSON PARISH APN 9500006769                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         BRIDGE CITY LA 70094

55.36.   JEFFERSON PARISH APN 9500006913                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         1701 BRIDGE CITY AVE
         BRIDGE CITY LA 70094

55.37.   JEFFERSON PARISH APN 9500006914                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         329 SOUTH JAMIE BLVD
         AVONDALE LA 70094

55.38.   JEFFERSON PARISH APN 9500006916                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         333 SOUTH JAMIE BLVD
         AVONDALE LA 70094

55.39.   JEFFERSON PARISH APN 9500007049                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING
         __________________________________________
         172 ANDRE DUNG LAC DR
         AVONDALE LA 70094

55.40.   JEFFERSON PARISH APN 9500007086                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING
         __________________________________________
         AVONDALE LA 70094

55.41.   JEFFERSON PARISH APN 9500007091                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         AVONDALE LA 70094




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         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.42.   JEFFERSON PARISH APN 9500007092                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         AVONDALE LA 70094

55.43.   JEFFERSON PARISH APN 9500007093                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         AVONDALE LA 70094

55.44.   JEFFERSON PARISH APN 9500007094                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         AVONDALE LA 70094

55.45.   JEFFERSON PARISH APN 9600003273                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         8151 BARATARIA BLVD
         CROWN POINT LA 70072

55.46.   JEFFERSON PARISH APN 9600003275                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         CROWN POINT LA 70072

55.47.   JEFFERSON PARISH APN 9600003280                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         CROWN POINT LA 70072

55.48.   JEFFERSON PARISH APN 9700005600                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING
         __________________________________________
         515 - 519 DODGE AVE
         JEFFERSON LA 70121

55.49.   JEFFERSON PARISH APN 9820003755                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         1916 N ARNOULT RD
         METAIRIE LA 70001

55.50.   JEFFERSON PARISH APN 9820008316                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         4313 RICHLAND AVE
         METAIRIE LA 70002




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Debtor   The Roman Catholic Church of the Archdiocese of New Orleans                                        Case number (if known) 20-10846

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.51.   JEFFERSON PARISH APN 9820021203                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         4412 ERA ST
         METAIRIE LA 70002

55.52.   JEFFERSON PARISH APN 9820021331                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         4408 CLEARY AVE
         METAIRIE LA 70002

55.53.   JEFFERSON PARISH APN 9820041651                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         4410 CLEARY AVE
         METAIRIE LA 70002

55.54.   JEFFERSON PARISH APN 9820041665                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         4413 ART ST
         METAIRIE LA 70002

55.55.   JEFFERSON PARISH APN 9820008618                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         4812 WEST NAPOLEON AVE
         METAIRIE LA 70001

55.56.   JEFFERSON PARISH APN 9820013872                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         4909 LOVELAND ST
         METAIRIE LA 70006

55.57.   JEFFERSON PARISH APN 9820015523                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         4844 LOVELAND ST
         METAIRIE LA 70006

55.58.   JEFFERSON PARISH APN 9820017526                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         4841 MEADOWDALE ST
         METAIRIE LA 70006




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Debtor   The Roman Catholic Church of the Archdiocese of New Orleans                                        Case number (if known) 20-10846

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.59.   JEFFERSON PARISH APN 9820024868                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         4845 MEADOWDALE ST
         METAIRIE LA 70006

55.60.   JEFFERSON PARISH APN 9820038106                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         4940 MEADOWDALE ST
         METAIRIE LA 70006

55.61.   JEFFERSON PARISH APN 9820041645                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         4848 LOVELAND ST
         METAIRIE LA 70006

55.62.   JEFFERSON PARISH APN 9820041648                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         3601 TRANSCONTINENTAL DR, 4920 LOVELAND
         ST, AND 4921 MEADOWDALE ST
         METAIRIE LA 70006

55.63.   JEFFERSON PARISH APN 9820041666                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         LA 0

55.64.   JEFFERSON PARISH APN 9820040823                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         5500 ST. MARY ST
         METAIRIE LA 70006

55.65.   JEFFERSON PARISH APN 9820040824                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         METAIRIE LA 70001

55.66.   JEFFERSON PARISH APN 9820041642                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING
         __________________________________________
         W. NAPOLEON AND SEVERN AVE
         METAIRIE LA 70001




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Debtor   The Roman Catholic Church of the Archdiocese of New Orleans                                        Case number (if known) 20-10846

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.67.   JEFFERSON PARISH APN 9820041646                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         2113 N. HULLEN ST
         METAIRIE LA 70001

55.68.   JEFFERSON PARISH APN 9820041664                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         1901 SEVERN AVE
         METAIRIE LA 70001

55.69.   JEFFERSON PARISH APN 9820042388                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         2000 N. ARNOULT RD
         METAIRIE LA 70001

55.70.   JEFFERSON PARISH APN 9820041647                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         LA

55.71.   JEFFERSON PARISH APN 9820041655                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         METAIRIE LA 70003

55.72.   JEFFERSON PARISH APN 9820041660                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         METAIRIE LA 70003

55.73.   JEFFERSON PARISH APN 9820041661                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING
         __________________________________________
         METAIRIE LA 70003

55.74.   JEFFERSON PARISH APN 9820041657                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING
         __________________________________________
         901 BEVERLY GARDEN DR
         METAIRIE LA 70002

55.75.   JEFFERSON PARISH APN 9820041658                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         901 BEVERLY GARDEN DR
         METAIRIE LA 70002



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Debtor   The Roman Catholic Church of the Archdiocese of New Orleans                                        Case number (if known) 20-10846

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.76.   JEFFERSON PARISH APN 9820041662                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         835 MELODY DR
         METAIRIE LA 70002

55.77.   JEFFERSON PARISH APN 9910011845                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         1000 N STARRETT RD
         METAIRIE LA 70003

55.78.   JEFFERSON PARISH APN 9910011848                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         --
         METAIRIE LA 70003

55.79.   JEFFERSON PARISH APN 9910011849                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         LOT 3, SQUARE 12, OWN YOUR OWN
         SUBDIVISION
         METAIRIE LA 70003

55.80.   JEFFERSON PARISH APN 9910011850                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         METAIRIE LA 70003

55.81.   JEFFERSON PARISH APN 9910011851                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         908 N STARRETT RD
         METAIRIE LA 70003

55.82.   JEFFERSON PARISH APN 9910011852                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         PLOTS 70 & 71, OWN YOUR OWN SUBDIVISION
         METAIRIE LA 70003

55.83.   JEFFERSON PARISH APN 9910011854                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         908 N STARRETT RD
         METAIRIE LA 70003




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Debtor   The Roman Catholic Church of the Archdiocese of New Orleans                                        Case number (if known) 20-10846

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.84.   JEFFERSON PARISH APN 9910011856                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         METAIRIE LA 70003

55.85.   JEFFERSON PARISH APN 9910012529                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         METAIRIE LA 70003

55.86.   JEFFERSON PARISH APN NOT FOUND                        FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         5501 WESTBANK EXPY
         MARRERO LA 70072

55.87.   LAFOURCHE PARISH APN 10206300                         FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         LA

55.88.   LAFOURCHE PARISH APN 0010002000                       FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         0010001800 - THIS ASSESSMENT DOES NOT
         INCLUDE THE CHURCH, BUT THE PROPERTY IS
         INCLUDED IN THEIR ACQUISITION AND THEY
         DID NOT SELL OUT THEIR INTEREST

         LAND/BUILDING

         __________________________________________
         LA

55.89.   LAFOURCHE PARISH APN NO ASSESSMENT                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         FOUND

         LAND/BUILDING

         __________________________________________
         LA

55.90.   ORLEANS PARISH APN 716403004                          FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         7919 FIG ST
         NEW ORLEANS LA 70125

55.91.   ORLEANS PARISH APN 716402908                          FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         3009 S CARROLLTON AVE
         NEW ORLEANS LA 70125




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Debtor   The Roman Catholic Church of the Archdiocese of New Orleans                                        Case number (if known) 20-10846

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.92.   ORLEANS PARISH APN 716402906                          FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         3017 S CARROLLTON AVE
         NEW ORLEANS LA 70125

55.93.   ORLEANS PARISH APN 716402901                          FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         3003 S CARROLLTON AVE (8039 FIG ST)
         NEW ORLEANS LA 70125

55.94.   ORLEANS PARISH APN 716400101                          FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         2908 S CARROLLTON AVE
         NEW ORLEANS LA 70125

55.95.   ORLEANS PARISH APN 716327320                          FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         2901 S. CARROLLTON AVE (7887 WALMSLEY
         AVE)
         NEW ORLEANS LA 70125

55.96.   ORLEANS PARISH APN 716327302                          FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         2814 S. CARROLLTON AVE
         NEW ORLEANS LA 70125

55.97.   ORLEANS PARISH APN 615314617                          FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         2801 PINE ST
         NEW ORLEANS LA 70125

55.98.   ORLEANS PARISH APN 615308210                          FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         1037 AUDUBON ST
         NEW ORLEANS LA 70118

55.99.   ORLEANS PARISH APN 513901405                          FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         1504901 VERONICA ST
         NEW ORLEANS LA 70043




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Debtor   The Roman Catholic Church of the Archdiocese of New Orleans                                        Case number (if known) 20-10846

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.100. ORLEANS PARISH APN 513834210                           FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         6420 KATHY CT
         NEW ORLEANS LA 70131

55.101. ORLEANS PARISH APN 513834211                           FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         6430 KATHY CT
         NEW ORLEANS LA 70131

55.102. ORLEANS PARISH APN 513834212                           FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         6440 KATHY CT
         NEW ORLEANS LA 70131

55.103. ORLEANS PARISH APN 513834213                           FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         6450 KATHY CT
         NEW ORLEANS LA 70131

55.104. ORLEANS PARISH APN 513834216                           FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         4420 FIELDS ST
         NEW ORLEANS LA 70131

55.105. ORLEANS PARISH APN 513834218                           FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         6410 MEDLOCK ST
         NEW ORLEANS LA 70131

55.106. ORLEANS PARISH APN 513834223                           FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         4415 JOYCELYN DR
         NEW ORLEANS LA 70131

55.107. ORLEANS PARISH APN 513815601                           FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         6201 STRATFORD PLACE
         NEW ORLEANS LA 70131




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         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.108. ORLEANS PARISH APN 412205921                           FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         2200 WASHINGTON AVE
         NEW ORLEANS LA 70113

55.109. ORLEANS PARISH APN 412205920                           FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         2200 6TH ST, NEW ORLEANS, LA
         NEW ORLEANS LA 70113

55.110. ORLEANS PARISH APN 39W964001                           FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         13435 GRANVILLE ST, NEW ORLEANS, LA 70129
         NEW ORLEANS LA 70129

55.111. ORLEANS PARISH APN 39W968602                           FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         13900 DWYER BLVD (5069 WILOWBROOK DR)
         NEW ORLEANS LA 70129

55.112. ORLEANS PARISH APN 39W972902                           FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         14001 DWYER BLVD
         NEW ORLEANS LA 70129

55.113. ORLEANS PARISH APN 39W965107                           FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         14100 MICHOUD BLVD
         NEW ORLEANS LA 70129

55.114. ORLEANS PARISH APN 39W968901                           FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         14400 PELTIER DR
         NEW ORLEANS LA 70129

55.115. ORLEANS PARISH APN 39W968902                           FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         14408 PELTIER DR
         NEW ORLEANS LA 70129




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         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.116. ORLEANS PARISH APN 39W968903                           FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         14418 PELTIER DR
         NEW ORLEANS LA 70129

55.117. ORLEANS PARISH APN 39W968904                           FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         14418 PELTIER DR
         NEW ORLEANS LA 70129

55.118. ORLEANS PARISH APN 39W210407                           FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         45586 LAMANCHE ST
         NEW ORLEANS LA 70117

55.119. ORLEANS PARISH APN 39W828304                           FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         54423 MIDDLE RD
         NEW ORLEANS LA 70126

55.120. ORLEANS PARISH APN 39W828308                           FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         54423 MIDDLE RD
         NEW ORLEANS LA 70126

55.121. ORLEANS PARISH APN 39W828318                           FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         54423 MIDDLE RD
         NEW ORLEANS LA 70126

55.122. ORLEANS PARISH APN 39W828327                           FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         54423 MIDDLE RD
         NEW ORLEANS LA 70126

55.123. ORLEANS PARISH APN 37W510217                           FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         6054 VERMILLION BLVD
         NEW ORLEANS LA 70122




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         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.124. ORLEANS PARISH APN 39W107406                           FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         2824 DAUPHINE ST
         NEW ORLEANS LA 70117

55.125. ORLEANS PARISH APN 39W968805                           FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         4901 ALSACE ST
         NEW ORLEANS LA 70129

55.126. ORLEANS PARISH APN 39W013747                           FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         7300 CROWDER RD.
         NEW ORLEANS LA 70127

55.127. ORLEANS PARISH APN 207102719                           FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         820 DAUPHINE ST
         NEW ORLEANS LA 70116

55.128. ORLEANS PARISH APN 207102704                           FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         DAUPHINE ST
         NEW ORLEANS LA 70116

55.129. ORLEANS PARISH APN 207101408                           FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         615 PERE ANTOINE ALY
         NEW ORLEANS LA 70116

55.130. ORLEANS PARISH APN 207101314                           FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         721 CHARTRES ST (715-725 CHARTRES ST)
         NEW ORLEANS LA 70116

55.131. ORLEANS PARISH APN 206104218                           FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         1043 CONTI ST (400-411 N. RAMPART)
         NEW ORLEANS LA 70112




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                                                1305
Debtor   The Roman Catholic Church of the Archdiocese of New Orleans                                        Case number (if known) 20-10846

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.132. ORLEANS PARISH APN 206104304                           FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         401 N RAMPART ST
         NEW ORLEANS LA 70113

55.133. ORLEANS PARISH APN 102106413                           FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         1000 HOWARD AVE
         NEW ORLEANS LA 70113

55.134. ORLEANS PARISH APN 102106406                           FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         1032 S RAMPART ST
         NEW ORLEANS LA 70113

55.135. ORLEANS PARISH APN 102106407                           FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         1042 S RAMPART ST
         NEW ORLEANS LA 70113

55.136. ORLEANS PARISH APN 102106402                           FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         1025 ORETHA C. HALEY BLVD
         NEW ORLEANS LA 70113

55.137. ORLEANS PARISH APN 105205318                           FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         3200 CANAL ST
         NEW ORLEANS LA 70119

55.138. ORLEANS PARISH APN 208100523                           FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         1116 CHARTRES ST (1110 CHARTRES ST)
         NEW ORLEANS LA 70116

55.139. ORLEANS PARISH APN 101102914                           FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         1522 CHIPPEWA ST (1505 ST. THOMAS ST; 1502,
         1517, 1522, 1522A AND 1526 CHIPPEWA ST)
         NEW ORLEANS LA 70130




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Debtor   The Roman Catholic Church of the Archdiocese of New Orleans                                        Case number (if known) 20-10846

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.140. ORLEANS PARISH APN 37W101321                           FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         1941 DAUPHINE ST
         NEW ORLEANS LA 70116

55.141. PLAQUEMINES PARISH APN 8501650                         FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         200 BETA ST
         BELLE CHASSE LA 70037

55.142. PLAQUEMINES PARISH APN 8506325                         FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         HIGHWAY 23
         BELLE CHASSE LA 70037

55.143. PLAQUEMINES PARISH APN 8506300                         FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         HIGHWAY 23
         BELLE CHASSE LA 70037

55.144. PLAQUEMINES PARISH APN 8203000                         FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         LA

55.145. PLAQUEMINES PARISH APN NO ASSESSMENT                   FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
        FOUND

         LAND/BUILDING

         __________________________________________
         LA

55.146. PLAQUEMINES PARISH APN NO ASSESSMENT                   FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
        FOUND

         LAND/BUILDING

         __________________________________________
         LA

55.147. PLAQUEMINES PARISH APN NO ASSESSMENT                   FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
        FOUND

         LAND/BUILDING

         __________________________________________
         (8968 LA-23)
         BELLE CHASSE LA 70037




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                                                1305
Debtor   The Roman Catholic Church of the Archdiocese of New Orleans                                        Case number (if known) 20-10846

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.148. PLAQUEMINES PARISH APN NO ASSESSMENT                   FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
        FOUND

         LAND/BUILDING

         __________________________________________
         (8968 LA-23)
         BELLE CHASSE LA 70037

55.149. PLAQUEMINES PARISH APN NO ASSESSMENT                   FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
        FOUND

         LAND/BUILDING

         __________________________________________
         LA

55.150. PLAQUEMINES PARISH APN 8600355                         FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         LA

55.151. ST. BERNARD PARISH APN A899000000Z4                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         2621 COLONIAL BLVD
         VIOLET LA 70092

55.152. ST. BERNARD PARISH APN 689900000170                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         2809 BAYOU RD.
         ST BERNARD LA 70085

55.153. ST. BERNARD PARISH APN 350500000DD1                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         3700 JEAN LAFITTE PKWY
         CHALMETTE LA 70043

55.154. ST. BERNARD PARISH APN 45630000R1C2                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         2501 ARCHBISHOP HANNAN
         MERAUX LA 70075

55.155. ST. BERNARD PARISH APN 789900000041                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         LA

55.156. ST. BERNARD PARISH APN 789900000045                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING
         __________________________________________
         LA

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         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.157. ST. CHARLES PARISH APN 20110150000A                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         178 ST. MARK AVE
         AMA LA 70031

55.158. ST. CHARLES PARISH APN 201101500001                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         10779 RIVER ROAD
         AMA LA 70031

55.159. ST. CHARLES PARISH APN 200500B00001                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         10771 RIVER ROAD
         AMA LA 70031

55.160. ST. CHARLES PARISH APN 20110150001A                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         10773 RIVER ROAD
         AMA LA 70031

55.161. ST. CHARLES PARISH APN 224501100004                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         10774 RIVER ROAD
         AMA LA 70031

55.162. ST. CHARLES PARISH APN 20170000000B                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         234 ANGUS DR
         LULING LA 70070

55.163. ST. CHARLES PARISH APN 20170000000D                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         234 ANGUS DR
         LULING LA 70070

55.164. ST. CHARLES PARISH APN 20170000000E                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         208 ANGUS DR
         LULING LA 70070




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         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.165. ST. CHARLES PARISH APN 702800A00010                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         155 HOLY FAMILY AVE.
         LULING LA 70070

55.166. ST. CHARLES PARISH APN 302101000001,                   FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
        302101000002, 302101000003 AND 302101000004
         LAND/BUILDING

         __________________________________________
         14538 RIVER ROAD
         DESTREHAN LA 70047

55.167. ST. CHARLES PARISH APN 160100001878                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         16883 RIVER ROAD
         HAHNVILLE LA 70401

55.168. ST. JOHN THE BAPTIST PARISH APN 9400000700             FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         100 DOMINICAN RD
         LAPLACE LA 70068

55.169. ST. JOHN THE BAPTIST PARISH APN 9400000801             FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         NEWPORT DR
         LAPLACE LA 70068

55.170. ST. JOHN THE BAPTIST PARISH APN 9400000800             FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         799 FAIRWAY DR
         LAPLACE LA 70068

55.171. ST. JOHN THE BAPTIST PARISH APN 0410004018             FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         2004 E. FRISCO DR
         LAPLACE LA 70068

55.172. ST. JOHN THE BAPTIST PARISH APN 9400000600             FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         GREENWOOD DR AND FAIRWAY DR
         LAPLACE LA 70068




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         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.173. ST. JOHN THE BAPTIST PARISH APN 9400013700             FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         1809 GREENWOOD DR
         LAPLACE LA 70068

55.174. ST. TAMMANY PARISH APN 137-080-0678                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         OAK HARBOR BLVD
         EDEN ISLE LA 70458

55.175. ST. TAMMANY PARISH APN 118-035-6921                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         77002 K C CAMP RD
         COVINGTON LA 70435

55.176. ST. TAMMANY PARISH APN 137-077-8850                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         HOWZE BEACH RD
         SLIDELL LA 70458

55.177. ST. TAMMANY PARISH APN 131-072-5536                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         910 CROSS GATES BLVD
         SLIDELL LA 70461

55.178. ST. TAMMANY PARISH APN 110-101-0891                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         910 CROSS GATES BLVD
         SLIDELL LA 70461

55.179. ST. TAMMANY PARISH APN 128-067-9097                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         687 ST GENEVIEVE LN
         SLIDELL LA 70460

55.180. ST. TAMMANY PARISH APN 128-067-7507                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         58203 LA-433 (58031 LA-433)
         SLIDELL LA 70460




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         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.181. ST. TAMMANY PARISH APN 123-046-8800                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         1901 JAGUAR DR (UNCONFIRMED)
         SLIDELL LA 70461

55.182. ST. TAMMANY PARISH APN 121-808-4291                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         BRIER LAKE DR
         LACOMBE LA 70445

55.183. ST. TAMMANY PARISH APN 121-070-8410                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         61051 BRIER LAKE DR
         LACOMBE LA 70445

55.184. ST. TAMMANY PARISH APN 121-041-7467                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         61030 BRIER LAKE DR (UNCONFIRMED)
         LACOMBE LA 70445

55.185. ST. TAMMANY PARISH APN 118-114-1724                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         GUS BALDWIN RD
         PEARL RIVER LA 70452

55.186. ST. TAMMANY PARISH APN 114-116-9262                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         E U.S. HWY 190 & ST ANN DR
         MANDEVILLE LA 70471

55.187. ST. TAMMANY PARISH APN 114-116-0400                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         1501 W. CAUSEWAY APPROACH (1515 W.
         CAUSEWAY APPROACH)
         MANDEVILLE LA 70471

55.188. ST. TAMMANY PARISH APN 114-029-5000                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         COVINGTON LA




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         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.189. ST. TAMMANY PARISH APN 114-023-0197                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         MANDEVILLE LA 70471

55.190. ST. TAMMANY PARISH APN 112-142-1561                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         4465 HWY 190 W (4465 HIGHWAY E SERVICE RD)
         COVINGTON LA 70433

55.191. ST. TAMMANY PARISH APN 112-023-1339                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         HOLY TRINITY DR (501 HOLY TRINITY DR)
         COVINGTON LA 70433

55.192. ST. TAMMANY PARISH APN 107-142-1332                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         20370 SMITH ROAD (UNCONFIRMED)
         COVINGTON LA 70435

55.193. ST. TAMMANY PARISH APN 107-120-8608                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         20370 SMITH ROAD (UNCONFIRMED)
         COVINGTON LA 70435

55.194. ST. TAMMANY PARISH APN 107-014-5106                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         20370 SMITH ROAD (UNCONFIRMED)
         COVINGTON LA 70435

55.195. ST. TAMMANY PARISH APN 107-140-4065                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         285 PONCHITOLAWA DR
         COVINGTON LA 70433

55.196. ST. TAMMANY PARISH APN 107-012-1681                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING
         __________________________________________
         69033 RIVERBEND RD
         COVINGTON LA 70433




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         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.197. ST. TAMMANY PARISH APN 106-126-4206                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         E 20TH AVE
         COVINGTON LA 70433

55.198. ST. TAMMANY PARISH APN 106-106-2689                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         S. WASHINGTON ST AND E. BOSTON ST
         COVINGTON LA 70433

55.199. ST. TAMMANY PARISH APN 106-014-8423                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         4354-4530 RONALD REAGAN HWY / 16118 HWY
         190
         COVINGTON LA 70433

55.200. ST. TAMMANY PARISH APN 106-009-0247                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         416 E RUTLAND ST (424 E 21ST ST & 111/113 S
         JAHNCKE)
         COVINGTON LA 70433

55.201. ST. TAMMANY PARISH APN 106-006-5994                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         416 E RUTLAND ST
         COVINGTON LA 70433

55.202. ST. TAMMANY PARISH APN 106-006-8128                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         122 S MASSACHUSETTS ST
         COVINGTON LA 70433

55.203. ST. TAMMANY PARISH APN 104-003-1526                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         RUE DE LA PAIX
         ST. TAMMANY PARISH LA 70447

55.204. ST. TAMMANY PARISH APN 103-132-9715                    FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         71324 HWY. 1077
         COVINGTON LA 70433




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Debtor   The Roman Catholic Church of the Archdiocese of New Orleans                                           Case number (if known) 20-10846

         Description and location of property                     Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as      extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property       debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,               in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.205. TERREBONNE PARISH APN 41759                               FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         209 S HOLLYWOOD RD
         HOUMA LA 70360

55.206. TERREBONNE PARISH APN 41080                               FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED
         LAND/BUILDING

         __________________________________________
         LA

55.207. TERREBONNE PARISH APN 36811                               FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         LA

55.208. TERREBONNE PARISH APN 57708                               FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         LA

55.209. TERREBONNE PARISH APN 52474                               FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         LA

55.210. 23515 HWY 190                                             FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         LAND/BUILDING

         __________________________________________
         23515 HWY 190
         BAY SAINT LOUIS MS 39520

55.211. __________________________________________                FEE SIMPLE          UNDETERMINED        _______________ UNDETERMINED

         REAL PROPERTY IMPROVEMENTS - ALL
         PROPERTIES
         __________________________________________

56.   Total of part 9
      Add the current value on lines 55. Copy the total to line 88.                                                         UNDETERMINED

57.   Is a depreciation schedule available for any of the property listed in Part 9?

      þ No
      ¨ Yes
58.   Has any of the property listed in Part 9 been appraised by a professional within the last year?

      þ No
      ¨ Yes


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Debtor   The Roman Catholic Church of the Archdiocese of New Orleans                                       Case number (if known) 20-10846




3.10.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ACS PRIMARY CARE PHYSICIANS LA                                                                    $609.75
         PO BOX 634703                                     ¨ Contingent
         CINCINNATI OH 45263
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:

         5/1/2020                                          EMPLOYEE HEALTH CLAIM

         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.11.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         Name and Address Intentionally Omitted                                                            UNDETERMINED
                                                           þ Contingent
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:

         __________________________________________        UNRESOLVED CLAIM

         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.12.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ADAMS, KRISTY                                                                                     $243.74
         Address Intentionally Omitted                     ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:

         3/13/2020                                         TRADE PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                Page 828 of 1153
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